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IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
EIN AND FOR HILLSBOROUGH COUNTY, FLORIDA

CIVIL DIVISION
Angela Collins and Nicole Collins
Plaintiffs,
Case No.:
vs.
Division:
GEICO General Insurance Company
Defendant.
/

UNDERINSURED AUTO COMPLAINT
COMES NOW, the Plaintiffs Angela Collins and Nicole Collins, by and through

undersigned counsel, and sues the Defendant GEICO General Insurance Company, and as
yrounds therefore would allege as follows:

1. This is an action for damages in excess of fifteen thousand ($15.000.00) dollars and is

otherwise within the subject matter jurisdiction of the Circuit Court.

2. On or about June 3. 201), an underinsured driver owned and operated a motor vehicle at

or near the intersection of Woodland Waters Boulevard near Nightengale Road in Hillsborough

County, Florida.

3. Atall times material hereto, Defendant GEICO General Insurance Company was a

corporation duly licensed to transact insurance in the State of Florida and maintained an office

for the transaction of its customary business in Hernando County, Florida.

4. At that time and place, the underinsured driver negligently operated or maintained their

motor vehicle so that it collided with Plaintiff's motor vehicle.

5. As a result, Plaintiffs, Angela Collins and Nicole Collins, suffered bodily injury and

resulting pain and suffering, disability, disfigurement, mental anguish, loss of capacity for the

enjoyment of life, expense of hospitalization, medical and nursing care and treatment, toss of
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earnings, loss of ability to earn money, and aggravation of a previously existing condition. The
losses are either permanent or continuing and Plaintiff will suffer the losses in the future.

6, On the date of the crash, Plaintiffs were insured under a policy of insurance issued by
Defendant GEICO General Insurance Company bearing policy number 41 11-11-82-06. The
policy provided uninsured and under insured motorist benefits to Plaintilfs, and was in full force
and effect on the date of the crash. A Copy of the policy is attached hereto as Exhibit "A".
GEICO Genera! Insurance Company has the original policy.
7. On the date of the crash, the at fault driver was an under insured motorist as defined by
Plaintiffs’ policy; accordingly, GEICO General Insurance Company is liable for benefits under
the policy,
8. All conditions precedent to bringing this action have been met or waived.

WHEREFORE. the Plaintiffs, Angela Collins and Nicole Collins, demand judgment
against the Defendant GEICO General Insurance Company,

Plaintiff further demands a trial by jury of all issues so triable.

COUNT 0—VIOLATION OF FLORIDA STATUTE § 624.155

The Plaintiffs, Angela Collins and Nicole Collins sue the Defendant GEICO General
Insurance Company, and adopts all of the allegations contained in paragraphs one through eight
as though more fully set forth herein and would further state:
9. This claim will ripen upon the determination by the Court or by confession of judgment
by GEICO General Insurance Company that Plaintiff is entitled to the limit of uninsured
motorists benefits under the policy.
10. Plaintiffs timely reported the clairn to Defendant and otherwise complies with all of the

obligations under the contract.
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11. On December 31, 2015, Angela Collins and Nicole Collins, Plaintiffs, each filed a Civil
Remedy Notice of Insurer Violations ("CRN") with the Florida Department of Insurance and
served a copy of the CRN upon GEICO General Insurance Company. A copy of the CRN is
attached hereto as Exhibit "B and C."

12. As a result of the injuries caused by the negligence of the uninsured motorist and the
relationship between the parties under the Policy, GEICO General Insurance Company owed a
duty to the Plaintiffs to attempt in good faith to settle Plaintiff's uninsured motorists claims
when. under all the circumstances, it could and should have done so, had tt acted fairly and
honestly toward its insured and with due regard for Plaintiff's interests. GEICO General
Insurance Company further owed to Plaintiffs a duty to refrain from engaging in unfair claim
settlement practices.

i3. GEICO General Insurance Company breached its duties to Plaintiffs, in violation of
section 625.155, Florida Statutes, by:

a. Fatling to attempt, in good faith, to settle Plaintiff's uninsured motorist claim when,
under all of the circumstances, it could have and should have done so, had it acted
fairly and honestly and with due regard for Plaintiff's interests, who was an insured,
in violation of section 624.155(1)(b)(1), Florida Statutes;

b. Failing to properly train adjusters and claims personnel;

c. Placing its own financial interests before that of Plaintiffs;

d. Engaging in unfair claims settlement practices in violation of section 626.954 1(1)(i)3.
a,c, d, fand g, Florida Statutes. Specifically,

i. Failed to adopt and implement standards for the proper investigation of

claims, including coverage;
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ij. Failed to acknowledge and act promptly upon communications with respect to
Plaintiffs uninsured motorist claim, including its failure to properly respond
to Plaintiffs multiple written requests for coverage information and demands
for payment of all uninsured motorist benefits under the Policy;

ili. Denied Plaintiffs uninsured motorist claim without conducting a reasonable
investigation based on the available information, even disregarding Plaintiff's
repeated offers to assist in its investigation;

iv. Failed to provide a reasonable written explanation of the basis in the insurance
policy, in relation to the facts or applicable law, for its lack of any offer of
settlement and eventual decision to deny coverage; and

v. Failed to promptly notify Plaintiffs of any additional information necessary
for the processing of the uninsured motorist claim, including what information
GEICO General Insurance Company's employees required to properly assess
and determine whether Plaintiff was afforded coverage pursuant to GEICO
General Insurance Company's policies and procedures.
14. The acts complained of herein constituted Defendant's general business practices in that
they (a) were expressions of, and in compliance with, standard company practices and
procedures, (b) are said by Defendant to be in conformity with what it contends are standard and
good faith claims practices, and consequently or incidentally, (c) occur with such frequency as to
indicate general business practices.
15. As adirect and proximate result of Defendant's actions and/or inactions as set forth

above, Plaintiffs has been damaged.
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16. GEICO General Insurance Company failed to cure its bad faith and more than sixty (60)
days has passed since the filing and service date of the CRN.

As a result of GEICO General Insurance Company's failure to act in good faith and statutory
violations alleged above, Plaintiffs is entitled to recover the total amount of their damages
pursuant to section 627,727(10), Florida Statutes, including all damages suffered as a result of
the crash and all damages caused by GEICO General Insurance Company's failure to act in good
faith and statutory violations alleged above.

17. GEICO General Insurance Company's violation of section 624.155, Florida Statutes has
caused damages to Plaintiffs of interest on unpaid benefits, pre-judgment interest accrued since
the date of GEICO Genera! Insurance Campany’s violation; attorney's fees incurred by Plaintiffs
in the prosecution of this claim for uninsured motorist benefits and pre-judgment interest
thereon; costs incurred in the prosecution of Plaintiff's claim for uninsured motorist benefits,
including expert witness fees; costs incurred in the prosecution of Plaintiff's claim for violation
of section 624.155, Florida Statutes; post-judgment interest.

i8. Asa further direct and proximate result of GEICO General Insurance Company's failure
to act in good faith and statutory violations alleged above, Plaintiff s had to retain the services of
the undersigned attomeys and contracted with them for the payment of their attorney's fees to
bring this action and recover the excess damages owed by GE]CO General Insurance Company.
By operation of law, including section 627.428, Florida Statutes, GEICO General Insurance
Company, will be obligated to pay those fees upon the successful conclusion of Plaintiff's claim.

19. All conditions precedent to Plaintiff's rights to bring this action has occurred or have been

satisfied.
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WHEREFORE Plaintiffs demands judgment against Defendant, GEICO General
Insurance Company, for the total damages suffered by Plaintiffs, pre and post-judgment interest,
allurneys' fees pursuant to sections 624.155, 627.727(10) and 627.428, Florida Statutes, costs,
and any other relief this Court deems necessary and proper.

Further Plaintiffs demands a trial by jury on all issues so triable.

MATTILAWe

Matthew D. Powell. Esq. FBN 710148
Service E-mail: Pleadines@iMattLaw.com
and PowellAndEspat@gmail.com
Attorney for Angela Collins

304 §. Plant Avenue

Tampa, Florida 33606

(813) 222-2222

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Exhibit A
———CGase 8-46-6-00280-S—B-MAPR-
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AFFIDAVIT

STATE OF FLORIDA
POLK COUNTY: ss

J, John Walsh, Claims Manager of GEICO General, Incorporated under the laws of the State of Maryland, do
hereby certify that policy number 4111118206, issued to Nicholas Collins and Angela P Collins effective
4/28/2011 to 10/28/2011, afforded the following coverage:

Coverage for losses sustaine € r than an ins: is Ji .
Bodily Injury: ~— $250,000 per person/$500,000 per occurrence

Property Damage (includes
loss of use}: $500,000

Coverage for losses sustained by an insured:
Uninstred Motorist: Non-Stacking $100,000 per person/$300,000 per occurrence

Personal Injury Protection: No Deductible, applies to Named Insured and Dependent Relatives

Additional PIP: Not Applicable
Medical Payments: $10,000, applies to Named Insured and Dependent Relatives only
Collision: $500 Deductible :
Comprehensive: $500 Deductible
Rental Reimbursement: $900 Mex Per Accident
ERS: Available
MBI: Available

on the following vehicle: 2008 M BENZ, VIN WDDGF54X08F053779, during the above policy period.

Number of listed vehicles: Not Applicable

Additional Covered Drivers: None Known At This Time

Policy and coverage defenses known are: None Known At This Time
Additional insured{s) under Section J, Liability Coverage: Not Applicable

Additional Insurance Coverage: None Known At This Time

Subscribed and sworn to me this ___ day of NOV 08 20f

“Adj, Code: F893 .
‘Claim Number: 0334251010101042 - 11/1/2011
L280 - ARomes

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AFFIDAVIT

I, K. Doster, Claims Coverage Underwriter of
Geico General Insurance Company a corporation organized and
existing under the laws of the state of Maryland, do hereby
certify that the attached Policy Declaration sheet, amendments,
endorsements, and policy contract are specific to policy number
411]-11-82-06 in the name of NICHOLAS COLLINS AND ANGELA P

COLLINS, and in effect on 06/03/11, the date of loss.

CKO

K, Doster
Claims Coverage Underwriter

In the State of Florida, County of Polk, the foregoing
instrument was subscribed and sworn before me this lst day of
November, 2011, by K. Doster who is personally known to me or

has produced a driver’s license for ey [

Notary Public

AY COMMISSION # DD $30013

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Declarations Page

Tel: 1-800-841-3000

geico com This 8 description of your coverape. :
. se retain for your fetords. i
GEICO GENERAL INSURANCE COMPANY

P.O. BOX 9105

Macon, GA 31208-9105 Policy Number: 4111-11-82-06

Coverage Period:

04-28-11 through 10-28-11
1201 a.m. lea! time at the address of the named insured.

Date Issued: March 15, 2014

NICHOLAS COLLINS AND ANGELA P
COLLINS

10135 SHORTLEAF CT

WEEK! WACHEE FL 34613-6525

Email Address: troubled4@acl.com

Insured

Additional Drivers
Nicholas Cofiins Nicole Collins
Angela Collins Ryan Collins
Vehicles VIN Vehicle Location Einante Company/
Lenholder
42007 Chev Malibu 1G1ZUS7N27F303307 Weeki Wachee Fl 34613
22008 MBenz C300 WDDGF54X08F053779 Weeki Wachee FL 34613
32008 Chev Malibu 1G1ZK57718F 228950 | Weeki Wachee FL 34813 —
42008 Chev Tahoe ~~ 1GNFC130X8R272475 Weeki Wachee FL 34613. Gmac ~
Coverages" Limits and/or Deductibles Vehicle 1 Vehicle 2 Vehicle 3 Vehicle 4

Bodily Injury Liability

Each Person/Each Occurrence $250 000/$500,006 $352.50 $12060 $166.60 $139.86
Property Damage Liability “$500,000 $96.60 $35.20 $49.70 $47.60
Medical Payments SSss—=—<CS—‘“—sSs*s~s~s~S~S~S~S $10,000 $91.70 $2360 $38.00  §26.30
Personal Injury Protection Non-Ded/insd&Rel $150.60 $62.30 $98.80 $72.60
Uninsured MotorisUNonstacked ee eee ee eee eee eee
Each Person/Each Occurrence $100,000/$300,060 $T13.10 «$773.10 «$193.70 9 $913.10

Comprehensive “" $600.Dad $54.10 $47.30 $53.00 $30.50 :

Collision oO $500 Ded $189.00 $88.90 $105.40 $66.00

Emergency Road Service ~ Ful “99.40 $660 96.60 $6.60

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TS Coverages Continued on Back
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*a00od1 4114 41820808082000511-

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Coverages* Limits and/or Deductibles Vehicle + Vehicle 2 Vehicle 3 Vehicle 4
Rental Reimbursement $30 Per Day $9.10 $8.10 $9.10 $9.10
scmunntniinanggininnintnrncenante $900 Max ent sinensis nnenaennnnsrerinnminine
Mechanical Breakdown $250 Ded $37.40 $70.00 $34.70 $51.40
Six Month Premium Per Vehicle $1,103.70 $576.70 $675.90 $865.00
Total Six Month Premium $2,927.36

*Coverage applies where ¢ premium or $0.00 is shown for a vehicle.

if you eleci to pay your premium in installments, you may be subject to an additional fee for each instaflment. The fee
amount will be shown on your billing statements and is subject to change.

Discounts

The total value of your discounts is $1,546.80
Seatbelt (Al Vehicles) ........ veererees 9OT,90
Muiti-Car (All Vehicles) ....... cere cee S, 86
Good Student (Veh 1) oo... cee eee senceveeent 108,10
Anti-Lock Brakes (All Vehicles) ............. peensesatensusrenectstseneidereeeepranetienseseeess 1 SOB, O
Anti-Thefl Device (AR VeRICIGS) oo. ee cceeecsteercsesesecensreneeergenenensedee conte sitenseaaniaea tinier enirarannicen seo LO, OO
§ Year Good Driving (AN Vehicles)........:.ceccccn-scctscetecceesnnesaeseenersanenesnerseerescarsesetinnnrasateenineinereeterseeseeccerens sane 15,69
Passive RestrainvAir Bag (All Vehicles) oo. cece acc ccceneceereseereaesetareeessserenenne rer enteetoeeereseeetiarnearereene renee Too

Contract Type: AZ0FL

Contract Amendments: ALL VEHICLES - A200FL A30FL AS4FL

UnitEndorsements: A115 (VEH 1,2,3,4); A180H (VEH 1,2,3,4); A239 (VEH 1,2,3,4);
A431 (VEH 4,2,3,4); UE316 (VEH 4)

Countersigned by Authorized Representative , ( , f

important Policy information

-if you have eny questions about this policy, about the insurance services we offer, or if you mead assistance resolving
a complaint please contact GEICO at 1-800-841-3000. We can assist you with your personal insurance needs.

-Please review the front and/or back of tnis page for your coverage and discount information.
-Active Duty, Guard, Reserve or Retired Military: Call 1-B00-MILITARY to see if you quallfy for the Military Discount.

~As your vehicle ages, the Mulll-Risk Coverage you cary becomes nearly unpossible to replace. Renew your policy
today and enjoy continuous coverage againsl costly mechanical breakdowns,

-Reminder - Physical damage coverage will not cover loss for custom options on an owned automobile, Including

equipment, furnishings or finishings including paint, Ifthe existence of those options has nol:‘heen previously reported to
us. This reminder does NOT apply in VIRGINIA and NORTH CAROLINA. Please call us at 1-800-841-3000 or visit us
at gelco.com if you have any questions.

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GEICO

ONE GEICO PLAZA
Washington, D. C. 20076-0001
Telephone: 1-800-841-3000

Florida
Family
Automobile . :
Insurance 7
Policy

Government Employees Insurance Company
GEICO Casualty Company

GEICO General Insurance Company

GEICO Indemnity Company

A-J6FL [2-08}

Notice

Two Or More Autas

Assistance And Cooperation Of Tha Insured
Action Against Us

Subrogation

SECTION 1 - Personal Injury Protection Coverage
Persone) Injury Protection (Patt D rrr

Payments We Will Make ..............
Exchasions ........
Limits OF Liability: Application OF Deductible;
Other Insurance... recent ptasetyeansen tenes P

Definitions...

Policy Period; } Teitry. ce
Conditions... ces ckavartscevsaueteae tents seeresnstansencescieeter
Notice

Action Against The Company
Proof Of Claim: Medical Reporte and
Examinations; Payment of Claim Withheld
Reimbursement And Subrogation
Special Provisions For Rented Or Leased Vehicles
Arbitration
Modification Of Policy Coverages (Part H)............. 4
Provisional Premium (Part El)...

SECTION If - Physical Domage Coverages
Your Protection For Luss Of Or Damage To Your Car

Definitions... saeursscatveennentitseanennensenateeereanensnestennecste
Losses We will Pay ... a
Comprebensive(Excuding Collfeton) ene TO
CONSION 0... ests ese esseesesnarteantscrerereernscnessettece 10
Additional Payments We Wil! Make Under The
Physical Damage Covarages.n.cnsrcc-secrsussentesscens

Car Rental If Your Car Is Stolen vs sserssessseesnsne

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YOUR POLICY INDEX /
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Your Protection Against-Cisims From Others Coverages Do Not Apply... cestentnatersteersescaraee FD
Definitions... 4 Limit Of Ligbility oe weed
Oi weedeat aeEn RRL MART teeRee ot caeecitasecevaupntienssnsceusssestanecestneasessvenss i
Additional Paymests We Will Make Under Notice tS” ™“ —
The Liability Coverages... pretueiiecteetniene Two Ot More Autos
Legal Expenses And Coun Costs Assistance And Cooperation Of The Insured
Bail And Appeal Bonds Action Against Us
First Aid Expenses Insured's Duties In Event Of Loss
Exclusions: When Section | Does Net Ht ApPIY vad Appraisal
Persons Insured: Who Is Covered ....csenesseensrrann 4 Payment Of Loss
Financial Responsibility Laws .....cccpecsemopesecer cscs § No Benefit To Beilee
Limits OF Liability sw. csee esdtesbesteeseeunnsasees 5 Subrogation
Other Insurance wre eB SECTION TV - Uninsured Motorists Coverage
ONGIIONS 0... eeescnecsecnesessssceseecneersiertenrserevensessactesstets este D Your Protection For Injuries Caused By

Uninsured And Hit-And-Run Motorists

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Action Against Us
Proof OF Claim - Medica! Reparts
Payment Of Loss
SECTION V - Geavral Conditions
The Following Apply To AU Coverages In This Policy

Territory - Poticy P Period... seer ietecattisa cuananicee LS
Premium... teens veveenasnrestseeseauinerestradentensanranate 15
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Cancellation By Us. peeyesee tees wh

Cancellation By Us Is ‘Limited.

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United States Government Employees... cn

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Whenever “he," "his," "bim,” or "bimsell" appears in this policy, you may read "she," "her," "hers," or “herself”

AGREEMENT

We, the Company named in the declarations attached to this policy, make this agreement with you, the policyholder. Re
lying on the information you heve furnished and the declaration; attached te this policy and if you pay your premium

when due, we will do the following:

SECTION I . LIABILIFY COVERAGES

Bodily Injury Liability And Property Damage Liability
Your Protection Against Claims From Cthera

DEFINITIONS

The words italicized in Section I of this policy are
defined below.

1. "Ante business" means the business of selling, re-
pairing, servicing, storing, transporting or parking of
autos.

2. “Bodily injury" means bodily injury to a person,
including resulting sickuess, disease or death.

4. "Form aufo" means a truck type vehicle with a load

cepacity of 2,000 pounds or less, nol used for commercial
purposes other than farming.

4. “Insured” means a person or organization described
under PERSONS INSURED.

5. "Non-owned auto” means a private passenger,
form or utility auto or trailer not owned by or furnished
for the ragular use of either you or a refative, other then 6
temporary substitute outo. An auto rented tr leased for
more than 36 days will be considered as furnished for
seguilar use.

6. "Owned cute’ means:

{a} s vebicle described in this policy for which a
premium charge is shown for these coverages;

(b} a trailer owned by yous

{c) a private pessenger, farm or utility auto, own-
ership of which you ecquire during lhe policy
peried, if

{i) it replaces an owned onfo as dafined in ja}
above; or

(ii) we insure all private passenger, farm and
utility autos owned by you on the date of the
acquisition, and pow ask us to add it ta the
policy mo more than 30 days later,

{d) atemporery substitute auto.

7. “Private passenger eute" means a four-wheel pii-
vate passenger, station wagon or jeeptype auto, includ-
ing 8 farm or utility outs es defined.

8. Relative” means 5 person related to you who re-
sides in your household, including your ward or foster
child.

9. “Temporary substitute auto” means a private pas-
senger, Facm or utility auto or treiler, not owned by you,
temporarily used with the permission of the owner. This
vehicle must be used as @ substitute far the owned aute
or trailer when withdrawn from normal use because of
its breakdown, tepair, servicing, loss or destruction.

10. "J'railer" means a vebicle designed to be towed by a
private passenger auto. If the vehicle is being used for
business ot commercial. purposes, it is a traler only
while used with a private passenger, farm or utility
auto, Trailer also méans a farm wegon or farm imple-
mant used with a form auto.

44. "Utily auto” means a vehicle, other than a farm
auto, with a load capacity of 2,000 pounds or less of the
pick-up body, van or panel truck type not veed for com-
mercial purposes.

42, "War" means armed conflict between nations,
whether or not declared, civil way, insurrection, rebellion
or revolution.

13. "You" mesns the policybolder named in ths doclara-
Yona ond his or her spouse if a resident of the sama
hoeusshaold.

LOSSES WE WILL PAY FOR YOU

Under Section 1, we will pay damages which an insured
becomes legally obligeted te pay bacause of: -

1. bodily injary, sustsined by 4 person, and
2. damogs to or destruction of property,

arising out of the ownership, maintenance or use of the
owned auto ct 2 non-owned auto. We will defend any
suit for damages payable under the tarms of this policy.
We may investigate and settle any claim or suit.

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ADDITIONAL PAYMENTS WE WILL MAKE UNDER
THE LIABILITY COVERAGES

1. All investigative and legal costs incurred by us.

2. All court costs charged to an insured in a covered
law sull.

3, All interest accruing on that amount of a judgment
which represents our himit of liebility, until we have
paid, offered or deposited in court that part of the jude-
ment not exceeding the Hmit of our lability.

4, Premiums for appeal bonds in a stit we appeal, or
premiums for bonds to ralease attachments; but the face
amount of these bonds may not exceed the applicable
limit of liability.

5. Premiums for bail bonds paid by an insured due to
traffic law violations arising out of the use of an insured
aute, motto exceed §250 per hail bond.

é. Costs incurred by any insured for first aid to others at
the tima of an accident involving an insured auto.

7. Loss of earnings up to $59 a day, but not other in-
come, if we request an insured to attend hearings end
trials.

é. All reasonable costs incurrad by en insured at.our
request.

EXCLUSIONS
When Section J Does Not Apply

1. Wedo not cover any bodily injury to any Jnsured oF
any member of an insured's family residing in the in-
sured's household.

This exclusion does not apply if the insured or mam-
ber of the insured’s household is injured as e passenger
in 6 motor vehicle insured under this policy while thal
vehicle is being driven by a person who ig not ¢ relative.

2. Section I does net apply to any vehicle used ta carry
passengers or goods for hire. However, a vehicle used in
an ordinary car pool on a side sharing er cost sharing ba-
sis is caverad.

3, We do not provide liability coverage for any person
whe intentionally causee bodily injury or property dam-
age.

4. We do not cover bodily injury or property damage
that is insured under @ nuclesz liability policy. This ex-
élusion applies even if the mits of that policy are ex-
hansted.

5, Bodily injury or properly damage arising from the
operation of farm machinery is not covered.

6. Bodily injury to an employee of an insured arising
out of and in the course of employment by an insured is
not covered, .

However, bodily injury of a domestic employee of
the insured is covered unless benafits are payable or sre
required to be provided under a workmen's compensation
law.

3. We do nol cover bodily injury to a fellow employee
of an insured {other than yeu) injured in the course of bis
employment if the badily injury arises from the use of an
sulo in the business of bis employer, and if benefits are
payable under a workmen's compensation policy.

8. Wede not cover an owned ante while used by a par-
son {other than yeu or a relative or your or your rela-
ilve's partner, agent or employee} when he {s employed
or otherwise engaged in the outo business.

8. A nomowned ouie while maintained or used by a
person while he is employed or otherwise engaged in any
auto business is not covered.

However, coverage does apply to a non-owned pri-
vote passenger auto used by you, your chauffeur or a
domestic servant, while engaged in the business of an
insured.

10. We do not cover damage to:

(a) property owned, or bansported by an insured; or
(b) property rented to or in charge of an insured
other than 4 residence or privale garages.

11. We do not cover an auto acquired by yoo during the
policy tert, if yeu have purchased other liability insur-
ance for it.

12. We do nol cover:
{a} the United States of America or any of its agen-
cies;
{b) any person, including yoo, if protection is af-

forded under the provisions of the Federal Tort
Claims Act.

PERSONS INSURED
Who Is Covered

Section | applies to the following as insureds with
regard to an owned auto:

i, you;

2. any other person using the auto with yeur permis-
sion. The actual usa must be within the scope of that
parmission; ,

3. any other person or organization for his.or its ebility
‘because of acts or omissions of an insured ander 1. or 2.
above.

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Section | applies to the following with regard to a
non-owned aule:

3. you and your relatives when driving the non-owned
auto. Such use must be with the permission, or reasona-
bly believed to be with the permission, of the owner and
within the scope of that parmission.

2. 4 person oY ofgatization, net owning or hiring the
auto, regarding his or its Hability bacavse of acts or omis-
sions of an insured under 1. above.

The limits of liability stated in the declarations are
our maximum obligations regardless pf the number of
insureds involved in the occurrence.

FINANCIAL RESPONSIBILITY LAWS

Whep this policy is certified as proof of financial re-
sponsibility for the future under the provisions of a motor
vehicle financial responsibility law, this Hability insur-
ance will comply with the provisions of that law.

When the policy applies to the operation of a motor
vebicle outside of your state, we apree lo increase your
coverages to the extent required of out-of-state motorists
by loca] law. We will not provide Bodily Injury Liability
Cavarage under this provision if that coverage [s nat pur-
chased and shows is the policy declarations. This addi-
tional coverage will be reduced to the extent that you ate
protected by another insurance policy. No person can be
paid mote than once for any item of logs.

LIMITS OF LIABILITY

Regardless of the number of autos ar trailers to
which this policy applies:

1. The Hmit of bodily injury liability stated in the decia-
rations as applicable te “each person” is the limit of our
liability for ali damages, including damages for care and
loss of services, bacauee of bodily injury sustained by
one petson as the rasuit of one occurrence.

2, The limit of such liability steted in the declarations
as applicable to “each occurrence” is, subject to the abuve
provision tespecting each person, the total limit of our
liability for all such damages, including damages for core
and loss of services, bacause of bodily injury sustained
by two or more persons as the result of any one occur-
rence.

3. The limit ef property damage liability staled in the
declatations as applicable to “eech occurrence” is the to-
tal limit of our liability for all damages because of injury
to or destruction af the property of one or more persons
or organizations, including the loss of use of the proparty
as the result of any one occurrence.

OTHER INSURANCE

H the inspred has other appliceble insurance against
« less caverad by Section | of this policy, we will not owe

more than our pro-rata share of the total coverage avail-
able,

Any insurance wa provide for losses arising out of
the ownership, maintenance or use of a vehicle you da
not own shall be excass aver any ofher valid and col-

lectible insurance.
CONDITIONS

The folowing conditions apply to Section |:

1. NOTICE

AS soon a5 possible after an occurrence, written no-
tice youat be given us or our authorized agent stating:

(a) the identity of the insured;

{bh} the time, place and details of the occurrence;

{c} the names and addresses of the injured, and of
any witnesses; and

[d} the names of the owners and the description and
Jocation of any damaged property.

Wa cieim or suit is brought against an /nsured, be
must promptly send us each demand, sotice, summons
or other process received.

Zz TWO OR MORE AUTOS

If this policy covers twa or more autos, the limit of
coverage applies separately to each. An auto and an at-
tached troifer are considered to be one auto.

3. ASSISTANCE AND COOPERATION OF THE
INSURED

The insured will cooperate and assist ws, if re-
quested:

(a} in the investigation of the occurrence;

{b) in making settlements;

(c} in the conduct of suits; and

id) in enforcing any right of contribution or indem-
nity against any legally responsible person-or or-
ganization because of bodily injury or property
damage; and

(e) at trials and hearings:

{f} in securing and giving evidence; and

(g) by obtaining the attendance of witnesses.

Only at bie own cost will the insured make a pay-
ment, assume any obligstion oy incur any cost other than
Jor first aid to otbers.

4. ACTION AGAINST US
No suit will He against us:

{u) unless the insured has fully ‘complied with ali
the policy's terms and conditions, end

{>} until the amount of tbe insured’s obligation to
pay has been finally determined, eiiber:

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({} by a final judgment against the insured after
actual trial]; or

(ii} by written agreement of the insured, the
claimant and us.

A person or organization or the legal representative
of either, who secures p judgment or written agreement,
may then sue to recover up to the policy limits.

No parson ot organization, including the insured,
has.a right under this policy to make us a defendant in an
action to determine the insared’s liability.

Bankruptcy cr insolvency of the insured or of his es-
tate will not relieve us of our obligations.

5. SUBROGATION

When payment is made under this policy, we will be
subrogated to all the insured's rights of recovery against
others. The insured will help us to enforce these rights.
The insured will do nothing after loss ta prejudice these
rights.

This means we will have the right to sue for or oth-
erwise recover the loss from anyone else who may be
held responsible.

When a parson bas been paid demages by us under
this policy and also recovers from another, thal person
shalt:

{a) hold in trust for ws the amount recovered; and
{>} reimburse us to ihe extent of our payment.

SECTION Il. PERSONAL INJURY PROTECTION COVERAGE AND AUTOMOBILE MEDICAL PAYMENTS

PART 1 - PERSONAL INJURY PROTECTION
PAYMENTS WE WILL MAKE

The Company will pay, in accordance with the Flar-
ida Motor Vebicta No-Fault Lew, as amended, to or for
the benefit of the injured person:

(a) 80% of medical expanses: and

(b) 60% of work Joss;

fc) replacement services expenses; and

(d} death benefits incurred es a ragult of bodily in-
jury, caused by on accident arising out of the
ownership, maintenance of use of @ motor vehi
cle and sustatped by:

(1) you or any relative while occupying 2 mo
tor vehicle or, while a pedestrian through
being struck by a mofor velucle; or

(2) eny ether person while occupying the in-
sured motor vehicle or, while a pedestrian,
through being struck by the insured motor
vehicle,

tn addition, we will pay, under Automobile Medical
Paytnenis coverage {applies only if a premium amount is
shown in the Policy Declarations for “Medical Payments”
coverage}, subject to the coverage limit:

[a} the portion of any claim for Personal Injury Pro-
tection medica) expense benefits otherwise cov-
ered but not payable due to the coinsurance pro-
vision of the Persanel injury Protection coverage.
This ts the 20% of medical expenses uot cov-
ered in (a) of tha first paragraph of this section;
any medical expenses incurred thet exceed the
Persona! Injury Protection medical expense cov-
erage limit; and

medical expenses incurred by an insured or
relative that resull from injuries received while
occupying 8 moter vehicle ot as & pedestrian in

(b

(c

an accident that occurs outside the state of Flor-
ida.

EXCLUSIONS
This insurance does not apply:

(a) to any insured injured while occupying any motor
vehicle ownad by that insured and which is not an
insured motor vehicle under this insurance;

(b) to any person while operating the Insured motor ve-
hicle without your express or implied consent,

{c) to eny person, if such person's conduct contributed
to his bodily injury under any of the following cir-
cumstances:

(i) causing bodily injury to himself intentionally;
ii} while committing a felony;

(a) 10 you or any ralative for work Joss if an entry in the
schedule or declarations indicetes such coverage
does not apply:

{e) to any pedestrian, olher then you or any relctive,
not a legal resident of the State of Florida;

{f} to any person, other than you, if such person is the
owner of a molor vehicle with respect to which se-
curity is required under the Florida Motor Vehicle
No-Fault lew, as amended;

—

to any person, other than you or any relative, who is
entided te personal injury protection benefits from
‘the owner or owners of 4 motor velocle which is not
an insured motor vehicle under this insurance or
from the owner's insurer; or

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(h

to any ‘person who sustains bodily injury while oc-
cupying a motor vehicle located for use as 4 resi-
dence or premises.

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LIMIT OF LIABILITY; APPLICATION OF DEDUCTIBLE;
OTHER INSURANCE

Regardless of the number of persons insuréd, policies
or bonds applicable, vehicles involved or claims made,
the total ageregate limit of personal injury protection
benefils available under the Florida Motor Vehicle No-
Fault Law, as amended, from all sources combined, in-
cluding this policy, for all toss and expense incurred by
or on bebalf of any one person who sustains bodily in-
jury as the resuli of any one accident shell be £10,000;
provided that payment for daath benefits included in the
foragoing shall in no event exceed $5,000.

Any amount payable under this insurance shall be
reduced by the amount of benefits an injured person has
recovered for the same slemanis of loss wader the work-
men’s compensation laws of any stete or.the federal gov-
ernment.

f benefits have been received under the Florida Mo-
tor Vehicle No-Fauh Law, as amended, from any insurer
for the same items of loss and expense for which benefits
are avaliable under this policy, we shall not be liable to
make duplicate payments to or for the benefit of the in-
jured person, but the insurer paying such benefits shail
be entitled to recover from us its equitable pro rata sbare
of the benefits paid and expenses incurred in processing
the claim.

‘The amount of any deductible stated in the declara-
tions shall be daducted from the tots) amouat of ali sums
otherwise payeble by us with respect to ali loss and ax-
penses incurred by or on behalf of each parson to whom
the deductible applies and who sustains bodily injury a3
the result of any one accident, and if the intel amount of
such loss and expense excoads such deductible, the total
limit of benefits we ara oblipatad io pay shall then be the
difference between such deductible amount and the ap-
pliceble limit of our Habiliry. Such deductible will not
apply to the death benefit.

Wan entry in the declarations so indicates, any
amount payable under this insurance to you or any reia-
tives shall he reduced by any benefits payable by the
Federal Government to active or retired military person-
nel and their dependent reletives. ¥ such benefits are aot
available at the time of Joss, we shall have the sight to
recompute and charge the appropriate premium.

BEFINITIONS

The definitions of the terms “insured” and “you'
under Section I apply to Section M7 alsa.

When used in reference to this Section: “bodily in
Jory” means bodily injury, sickness, or disease, inchud-
ing death at any time resulting therefrom.

"Insured motor vehicle” means a mofor vehicle:

{a} of which you are the owner, and

{b) with respect to which security is required to be
maintained under the Florida Motor Vehicle No-
Fault Law, apd

(c) for which a promium is charged, or which is a
trailer, other than a mobile home, designed for
use with a motor vehicle;

“Medical expenses” means reasonable expenses for
necessary medical, surgical, x-ray, dental, ambulance,
hospital, professional nursing and rehabilitative services
fot prosthetic devices and for necessary remedie] treat-
ment and services recognized and permitted under the
lews of the state for an injured person who relies upou
spiritual means through prayer alone for healing in se-
cordance with his religious beliafe;

“Motor vehicle” means any seli-propelled vehicle of
4 et more wheels whichis of a type both designed and
regvired to be licensed for use on the highways of Florida
and any triler or seut-irailer designed far use with such
vehicle.

A motor vehicle does not include:

{a) any motor vehicle which is used in mass transit
other than public school transportation and de-
signed to transport more than 5 passengers x-
clusive of the operator of the mator vehicle and
which is owned by a municipality, a- transit
suthority, or political subdivision of the state;
or

{b) « mobile home.

“Occupying” meant in or upon or entering inte or
alighting from;

"Owner means a person or organization who holds
the legal tille to e motor vehicle, and also includes:

fa) a debtor having the right to possession, in the
event 4 motor vehicle is the subject of 8 security
agreement, and -

{b) # lessee having the right to possession, in the
event of @ motor vehicle is the subject of s lease
with option to purchase and such lease agree-
mont is far a period of six months or more, and

(c} a lessee having the right to possession, in the
event 6 moter vehicle is the subjact of a lease
without option to purchase, and such lease
agreement Is for a period of six months or mare,
and the lease agreement provides that the lessee
shall be responsible for securing insurance;

"Pedestrian" means-s person while not ep occupant
of any self-propelled vehicle;

“Relative” means a person related to you by blood,
matriage or adoption {including @ ward or foster child)
who ig a resident of the seme household as you;

“Replacement services expenses" means with te-
spect to the period of disability of the injured petson ail
expenses reasonably incurred in obtaining from others

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ordinary and necessary services in Jieu of those that, but
for such injury, the injured person would have performed
without income for the benefit of his household;

"Work Joss” means with respect lo the period of dis-
ability of the injured person, any loss of income and earo-
ing capacity from inability to work proximately caused
by the injury sustained by the injured person.

POLICY PERIOD; TERRITORY

The insurance under this Section applies only to ac-
cidents which occur during the policy period:

(a) in the State of Florida;

(b} as respects you or a relative, while occupying
the insured metor vehicle outside the Stata of
Florida bot within the United States of America.
its territerias or possessions or Canada; and

{c) as respects pedestrians injured when struck by
the insured motor vehicle in the State of Florida,
if they are not the owner of a vehicle for which
coverage is raquired to be maintained under the
Florida No-Faull Law.
Additionally, applicable to the Medica} Pay-
ments coverage only, if included on the policy,
we will cover yeu ot any reletive for injuries in-
curred whila oceupying 4 motor vehicle within
the Untied States of America, ils territories or
posspssions or Canade.

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CONDITIONS

1. Notice. In the event of an accident, written notice of
the loss must be given to us or any of our authorized
agents as soon as practicable. if any jnjured perzon or his
jegal representatives shall institute legal action to recover
damages for bodily injury against a third party, a copy of
the summons and compleint or other process served in
connection with such legal action shall be forwarded as
goon as practicable to us by such injured person or his
legal represantative.

2 Action Against tha Company. No action shall lie
against us unless, 65 a condition precedent therete, there

shall have bean full compliance with all terms of this
insurance, Bor until 30 days after the required notice of
accident and reasonable proof of claim has been filed
with ws.

3. Proof of Claim; Medical Reports and Examinations:
Payment of Claim Withheld. As soon as practicable the
person making the claim shall give to us written proof of
claim, under oath if required, which may include full
particulars of the nature and extent of the injuries and
traatment received and contemplated, and such other
information as mey assist us in determining the emount
due and payable. Such person shall submit to mental or
physical examinations at our expense when and as often
as we may reasonably require and a copy of the medical
report shall be forwarded to such person if requested. If
the person unreasonably rafuses to submit to an examine-

tion, we will pot de liable for subsequent personal Injury
protection benefits. Whenever a person making a claim is

charged with committing a felony, we shall withhold,

benefits until, al the trial level, the prosecution makes a
formal entry on the record that it will not prosecute the
case against the person, the charge is dismissed or the
person is acquitted.

The insured and other persons making claim must
submit to examination under oath by any person named
by us when and as often as we may reasonably require.

4. Reimbursomont and Subrogation. In the event of
payment to or for the benefits of any injured person un-
der this insurance; :

ta) the Company is subrogated to the rights of the
person I¢ whom or for whose benefit euch pay-
mens were made to the extent of such payments.
Such person shall execute and deliver the in-
struments and papers and do whatever else is
necessary ta secure such sights. Such person
shell do nothing after loss to prejudice such
rights.

(b} the Company providing personal infury protec-
tion benefits on-a private passenger motor vebi-
cle, as defined in the Florida Motor Vehicle No-
Fanh Lew, shall be entitked to reimbursement to
the extent of the payment of personal injury pro-
tection beeefits from the owner or insurer of the
owner of a commercial moter vehicle, as defined
in the Florida Moter Vehicle No-Fault Law, if
such injured person sustained the injury while
occupying, or while a pedestrian through being
struck by, such commercial motor vehicle.

5, Special Provision for Rented or Leased Vehicles.
Notwithstanding any provision of this coverage ta the
contrary, if a person is Injurad while occepying, or
through being struck by, a moter vehicle rented or leased
under a rental or lease sgreament which does nol specify
otherwise in bold type on the face of such agreement, the
personal injury protection covorage afforded under the
lessor's policy shall ba primary.

8. Arbitration, The Company, under this coverage, is
entitled to hinding arbitration of any claims dispute
involving medical benslits arising between us and
any person providing medical services or supplies if
that person hes agreed to accept assignment of per-
sonal injury protection benefits. The provisions of
Chapter 682 relating to arbitration shall apply. The
prevailing party shell be entitled to attorney's faas
and costs. ,

PART 0- MODIFICATION OF POLICY COVERAGES

Any Automobile Medical Payments insurance, any
Uninsured Motorists coverage or apy excess Underin-
suzed Motorists coverage afforded by the policy shall be
excess over eny Personal Injury Protection bencfits paid
or payable or which would be available but for the appli-
cation of e deductible.

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Regartiess of whether the full amount of Personal
Injury Protection benefits heve baen exhausted, any
Medical Payments insurance afforded by this policy shall
pay the portion of any claim for Personal Injury Protec-
tion madica! expenses which are otherwise covered but
not payable due to the limitation of 80% of medical ex-
penses contained in Section | but shall not be payable for
the amount of the deductible selected.

PART Hil - PROVISIONAL PREMIUM

it is agreed that in the event of any change in the
rules, rates, rating plan, premiums or minimum premi-
ums applicable to the insurance afforded, because of an
adverse judicial finding as to the coustitutionality of any
provisions of the Florida Motor Vehicle No-Fauli Law, as

amended, providing for the exemption ef persons from
ton liability, the premium stated in the declarations far
any Liebllity, Medical Payments and Uninsured Motor-
ists insurance shall be deemed provisional and subject to
recomputation. If this policy is a renewa! policy, such
yacomputation shall also include a determination of the
amount of any return premium previously credited or
refunded to the named insured pursuant to Section 12 (2)
{e} of the Florids Motor Vehicle No-Fauli Law, as
siwended, with respect to insurance sfforded under a
previous policy.

If the fina) premium thus secompnied exceads the
premium stated in the declarations, the insured shell pay
to the Company the excess as weil as the amount of sny
return premium previously credited or refunded.

SECTION I - PHYSICAL DAMAGE COVERAGES
Your Protection For Loss Or Damage To Your Car

DEFINITIONS

The definitions of the terms “auto business," “farm
auto." “nomowned auto,” “private possenger auto,”
"relative," “temporary substiiute auto,” “utility auto,”

"vou," and “war under Section I apply to Section 1

also. Under this Section, the following special delnitions
apply:

1, "Actool cosh value” is the replacement cost of the
auto ar property less depreciation or betterment.

Zz. "Betterment" is improvement of the auto or property
to value greater than its pre-loss condition.

3. "Collision" means loss caused by upset of the cov-
erad aute or its collision with another object, including
an attached vehicle,

4. “Comprehensive” means Joss caused other than by
collision and includes the following causes:

{a) missles;

(b) falling objects;

(c} fire;

(d} ligbming:

{e) thoft;

{f} larceny;

{g) explosion;

{fh} earthquake;

{i}, windstorm:

{f) hail:

tk} water;

{}} flood:

(n) malicious mischief,
tn) vandalism:

(o} riot:

(p} civil commotion; or
(9) colliding with a bird or animal.

5. “Depreciation” maans a decrease ot loss in value to
the aute or property beceuso of use, disuse, physical wear
and tear, age, butdatedness, or other causes.

8 "Insured" means:
fa] regarding the owned oute.

{i} you and your relatives;

{ii} & person or organization maintaining, using
ot having custody of the auto with your
permission, if his use is within the scope of
that permission.

{b) ragerding a non-owned anita:

you and your relatives, when driving the auto, if
the pctual operation or usa is with the permission
ot reasonably beliaved to be with the permission
of the owner and within the scope of that per-
mission.

7. “Loss” means diract and accidental loss of or damage
to:

(a) an insured auto, including its equipment; or
(b) other property insured under this section.

68. "Owned ante” means:

(a) any vehicle described in this policy for which 6
specific premium charge indicates there is cover-
age;

(b) a private passenger, farm or utility auto or a
treiler, ownership of which is acquired by you
during the policy period; if

(i) it replaces an owned auto as described in (a)
above, or

(ii) we insure all private passenger, farm, util-
ity outos and trailers owned by yoo on the
date of such acquisition and you request us

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to add il to the policy within 39 days after.
ward;

{c) stemporary substitute oute.

9. “Trailer” means a Wailer designed for use with a
private passenger oute and not used as a home, office,
store, display or passenger trailer.

LOSSES WE PAY
Comprehensive (Excluding Collision)

1. We will pay for each Joss, less the applicable de-
ductible, ceused other than by colisien ta ihe awned or
non-owned auto. This includes glass breakage.

No deductible will apply to Joss:

(a) to windshisid glass: .

(bo) caused by fire, lightning, smoke, ox smmdge; or

{c} as result of damage sustained while tha vobicle
is being transported on any conveyance.

At the option of the insured, breakage of glass caused
by cofision may be paid under the Collision coverage, if
included in the policy.

2, We will pay, up to $200 per occurence, lese the ap-
plicable deductible, for Joss to personal effects due to:

{a} fire;

{b) lightning:

(c} Fload;

id) falling objects;

{e) aarthqueke:

explosion; or

(g) theft of the entire automobile.

No deductible will apply to Joss from fire or light-
ping.

The proparty must ba owned by you or a relative,
apd must be in of upon an owned auto,

4. Losses arising out of a single occurrence shall be
subject to no more than ons deductible.

Collision

1. We will pay for collision joss te the owned or non-
owned auto for the amount of each Joss legs the apptica-
bls deductible. :

z% We will pay up to $200 per occurrence, less the ep-
plicable deductible, for Joss to personal effects due to &
callision. The property must be owned by yeu or a relo-
tive, and must bain or upon an owned auto,

3, Losses arising out of a single occurrence shall be
subject to no more than ons deductible.

ADDITIONAL PAYMENTS WE WILL MAKE UNDER
THE PHYSICAL DAMAGE COVERAGES

1. We will reimburse ihe insured for transportation ex-
penses incurred duriag the period beginning 44 hours
after & theft af the entire auto covered by Comprebensive

‘poverage wnder this policy has bean reported to us and

the police. Reimbursement ands when the auto is re-
tumor to use or we pay for the Jess.

Reimbursement will nat exceed $20.00 per day nor
$600.00 per loss.

2. We will pay for Joss to any of the following equip-
ment (includ ing Joss ta accessories and antennas):

{a} car phone;

{b) citizen's band radia;

(c) two-way mobile tadigps ee -

{d) scanning monitor receiver; or

(a) device designed for the recording and/or repro-
duction of sound.

We will pay only if the equipment al the time of Joss:

fe) is permenenily installad in or upon an owned
aute; and

(b) that auto is insured under the appropriate cover-
age.

3. We will pay general average and salvage charges for
which the insured becomes legally Hable when the auto
ia being bansported.,

EXCLUSIONS
When The Physical Damage Coverages De Not Apply

i. An auto used ta carry passengers or goods for hire is
not covered. However, a vehicle wsed in an ordinary car
poo! on a cide sharing or cost sharing basis is covered.

2. Lass due to wor is not covered.

3. We do not cover loss to 8 non-owned auto when
used by the insured in the auto business.

4. There is no coversge for loss caused by and limited
to wear and tear, fraezing, mechanical or electrical break-
down or failure, unless that damage results from a cov-
ared theft.

5, We do not cover road damage to tires.
6. Loss due to radioactivity is not covered.

7. Lass to any tape, wire, record disc or other medium
for use with a device designed for the recording and/or
reproduction of sound is not covered.

8 We do not cover Joss ta any radar detector.

9, We do not cover any vebicle o7 trailer when used for
business or commercial purposes other than a form awe.

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10. We do not cover Joss for custom options op an

owned avis, including squipmeni, furnisbings ot finish-

ings including paint, if the existence of those options has
not been previously reported 10 us.

LIMIT OF LIABILITY
The Hmit of our liability for Joss:

1. is the actvo! cash value of the property al the time of
the loss;

2, will not exceed the cost to repair or replace the prop-
erty, or any of its parts, with other of like kind and qual-
ity and will not inchude compensation for eny diminution
in the property's value that is claimed to result from the
joss.

3. to personal offects arising out of one occurrence ts
$200;

4. 104 trailer pot awned by yeu is $500;

4. for custom options is limited lo the actual cash
value of equipment, furnishings or finishings (including
paint) installed in or upow the vehicle only by the aute
factory or an authorized auto desler and included in the
purchase price of the vehicle.

Actual cash value of property will be determined at
ihe time of the Joss and will include an adjustment for
depretiotion/betferment and for the physical condition
of the property.

OTHER INSURANCE

¥f the insured has other insurance ageinst a Joss cov-
ered by Section I, wa will not owe more than pur pro
rata share of the total coverage available. Any insurance
wa provide for a vehicle you do not own shall ba excess
over any other valid and collectible insurance.

CONDITIONS

The following conditions apply only to the Physical
Damage coverages:

a. NOTICE

As soon as possible after a Joss, written notice must
be given us or our authorized egeat stating:

{a) the identity of the insured;

fb) 2 description of the auto or traver,

[c) the tima, place and details of the Jess; and
(d) the names and addresses of eny witnesses,

In case of theft, the insared must pramptly notify the
police.

2. TWOOR MORE AUTOS

If this policy covers two or more autos or traifers, the
limit of coverage and any deductibles apply separately to
aach.

3. ASSISTANCE AND COOPERATION OF
THE INSURED

The insured will cooperate and assist us, if re-
quested:

(a} in the investigation of the Joss;

{b) in making settlements;

{c} in the conduct of suits;

(d} in enforcing any right of subrogation against any
legally responsible person or organization;

(e) at trials and hearings;

{f) in securing and giving evidence; and

{g} by obtaining the attendance of witnesses.

4. “ACTION AGAINST US

Suit will not lie against us unless the policy terms
have been complied with and until 30 days after proof of
loss is filed and the amount of loss is datermined.

5, INSURED’S DUTIES IN EVENT OF LOSS

In the event of Joss the insured will:

(a) Protect the auto, whether or not the Joss is cov-
ered by this policy. Further Joss dus to the jn-
sured’s fatlure to protect the auto will not be
covered. Reasonable expenses incurred for this
protection will be paid by us.

(b) File with us, within 91 days after Joss, bis sworn
proof of loss including al] infermation we mey
reasonably raquire.

lc) At our request, the insured will exhibit the dam-
aged property and submit te examinetion under
oath.

6. APPRAISAL

Bf we and the insured do not agree on the amount of
lass, either may, within 60 days fier proof af less is
filed, demand an appraisal of the less. In that event, we
and the ineored will each select 8 competent appraiser.
The appraisers wil] select a competent and disinterested
umpirs. The eppraigars wil] stale separately the actual
cosh valve and the amount of the loss. If they fail to
agree, they will submit the dispute to the umpire. An
award in writing of any two will determine the amounl of
Joss, We and the insured will each pay his chosen ap
praiser and wil! hear aqually the other expanses of the
appraisal and umpire.

We will not waive our rights by any of our acts relat-
ing to appraisal.

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%, PAYMENT OF LOSS

We may 8! our option:

{a) pay for the Joss; or
ib} repair or replace the damaged or stolen property.

At any time before the Joss is peid ar the property re-
placed, we may return apy stolen property to you or to
the address shown in the declarations at our expense
with payment for covered damage. We may take el) or
part of the property at the agreed or appraised value, but
(bere will be no abandonment to us. We may settle
claims for Joss sither with tbe insured-or the owner of the

preperty.

a. NO BENEFIT TO BATLEE

This insurance does not apply directly or indirectly
to the benefit of a carrier or sther bailee for hire liable for
ibe Joss of the auto.

8. SUBROGATION

When payment is made under this policy, we will be
subrogated to all the insured’s rights of recovery against
others. The insured will help us to enforce these tights.
Tho insured will do nothing after Joss 1o prejudice these
rights.

This means we will have the right to sue fer or otb-
stwise recover the Jess from anyone else who may be
held responsible.

SECTION IV -. UNINSURED MOTORISTS COVERAGE
Protection For You And Your Passengers For Injuries Caused By Uninsured And Hit-And-Run Motorists

DEFINITIONS

The definitions of terms for Section ] apply te Section
iV, except for the following special definitions:

1. "Hil-end-run auto” is ao auto causing bodily injury
to an insured and whose operator or owner cannot be
identified, provided the insured or somaone on his be-
half:

{a) reports the accident as soon as possible to a po-
lice, poace or judicial officer or to the Commis-
sioner of Molar Vehicles;

(b} files with us as soon as possible a statement set-
ting forth the facts of the accident and claiming
that he has a cause of action fer damages aguinst
an unidentified parson.

2. “Insured” means:

fa} the individual named in the declarations and his
or her spouse if 2 resident of the same house-
hold;

tb) relatives of [a] above if residents of his house-
hold;

ic) any other person while occupying en insured

oate:

any person wou is entilled te recover damages

because of bodily injery sustained by an in-

sured under (3), {b}, and (c) above.

If there is more than ene insured, our limits of lisbil-
ity will not be increased.

id

—

3. "Insured auto” is an auto:

(a) described in the declarations and covered by the
Bodily injury Liability coverage of this policy,

(bi temporarily substituted for an insured auto
when withdrawn from normal use because of its
breakdown, repair, servicing, loss or destruction;

fc] operated by you or your spouse if a resident of
the seme household.

But the term “insured auto” does no! include:

(i) ap auto used ta cary passengers or goods for
hire, excepl in a car-pool;

{ii} an auto being used without the owner's permis- .
S30R; OF

{tli) under subparagraphs {b) and (c) above, an auto
owned by or furnished for the regular use of an
insured.

4. “Occupying” means in, upon, entering into or alight-
ing frem,

& "State" includes the District of Columbia, the territe-
ries and possessions of the United Siatas, and the Prov-
inces of Canads.

6. “Uninsured auto” js an aute:

{s) which has no lisbitity bond or surance policy
applicable with liability limits complying with
the Financial Responsibility Law of the stote in
which the insured ufo is principally garaged at
the time of the accident; or

ib} for which the total of all bodily injury lability
insurence aveileble in the event of ap accident is
less than the damages sustained in an accident
by an insured; or

{c}) a hit-and-ron auto.

This term also includes an auto whose insurer is or
becomes insolvent or denies coverage,

The lerm "uninsured ante" does nol include:

fa) an insured ante;
(b} an aute owned or opetated by a self insurer
within the meaning of any motor vehicle finan-

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clul responsibility law, motor carrier law or any
similer law: .

{s} an auto owned by the United States of America,
any other national government, 2 stale, oF a po-
litical subdivision of any such government or its
agencies;

{d} aland motor vehicle or froder operated on rails
or crawler treads or located for use a5 o residence
or premises; and

ie) a farm-type tractor or equipment designed for use
principally off public roads, except while used
upon public roads.

LOSSES WE PAY

Under the Uninsured Motarists coverage we will pay
damages for bodily injury caused by accident which the
insured is legally entitled to recover from the owner ot
operator of an uninsured auto arising out of the ewner-
ship, maintenance or use of thet auto.

However, we will not pay uptil the total of all bodily
injory Hebility insurance available has been exhausted by
payment of judgments or settlements.

EXCLUSIONS
. When Section IV Does Not Apply

1. This coverage does not apply to bodily injory to an
insured ifthe insured or his laga) representative bas
made a setUement or has been awarded a judgment of his
claim without our prier written consent.

2. Bodily injury to an insured while occupying or
when struck by any moter vehicle or motorcycle owned
by an jnsored or a relative, which is not insured under
the Liability Coverages section of this policy, is nol cov-
ered.

3. The Uninsured Motorists coverege will nat benedit
any workmen's compensation insurer, self {nsurer, or
disability benefits insurer.

4. We de not covey the United States of America or any
of ii agencies as an insured, a third party beneficiary or
otherwise.

5. This coverage dous not apply to any damages for pain
and suffering that the insured may be legally entitled to
recover ageinst en uninsured motorist unless the injury
or disease caused by the uninsured motorist accident
resulted in;

(a) significant and permanent loss of an important
bodily function; or

(o} permanent injury within a reasonable dagree of
medical probability, other than scarring or dis-
figurement; or

(c) significant and permanent scarring or disfigure-
ment, or

fd} death.

6. Regardless of any other provision of this policy. there
is ne coverage for punitive or exemplary damages.

LIMITS OF LIABLLITY

1. The limit of Hebility for Uninsured Motprisis cover-
age stated in the declarations as applicable to “each per-
son" is the limit of our liability for all damages, including
those for care or loss of services, due to bodily injury
sustained by one person as the result of one accident.
The most wa will pay for all such damages. sustained by
one person as the result of one accident, is the swim of the
"each person” limits for Uninsured Motorists coverage
shown in the declarations.

2. The limit of liability stated in the declarations as ap-
plicable to "each accident” is, subject to the above provi-
sion respecting each person, the tote) Hmit of our Hebility
for all such damages, including damages for cere and loss
of services, because of bodily injury sustained by two ar
more persons as the result of ane eccident. The most we
wil! pay for all such damages, sustained by two or tore
persons as the result of one accident, ts the sum of the
“each accident” limite for Uninsured Motorists coverage
shown in the declarations.

4. The linsit of liebility for Uninsured Motorist coverege
shall be over and above, but shall not duplicate the bene-
fits available to an insured under any:

(a) workers’ compensation lew;

(>) personal injury protection benefits;

{c) disability benefits Jaw or similar law; or
{d} automobile medical expanse coverage.

4. The limit of liability for Uninsured Motorist coverage
shall be over and above, but shall not duplicate any
amount paid er payable:

{a) under any motor vehicle Hubility insurance cov-
erages; DY

(b} by or on behalf of the owner or operator of the
vninsured moter vebicle or any other person of
orpabization jointly or severally liable together
with such owner or operator for the accident.

OTHER INSURANCE

When an insored eccupies an avito not described in
this policy,.and not owned by that insured or a relative,
this insutance is excess over any ather similar josurance
available to the insared and the insurance which applies
to the oceupied auto is primary.

If the insured bas other insurance against a loss cov-
ered by the Uninsured Motorist provisions of this policy,
we will not be liable for more than our pro-rata share of
the total coverage available.

DISPUTES BETWEEN US AND AN INSURED

1. Disputes between an insured and us as to liability
and damages may be submitted to arbitration. Arbitration
must be agread to in writing between the insured and us.

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If arbitration is agreed upon, each party shalt select
an impartial arbitraior. These arbitrators shall select a
third one.

The cost of the arbitration and any expenses for ax-
perts shall be paid by the party who bired tham. The cost
of the third arbitrator shall be paid equatly by the parties.

2. If the insured and we cannot agree to arbitrate ot
agree to a third erbitrator, the insured shall:

{a} sua the owner or driver of the uninsured auto
and us in # court of competent jurisdiction. If the
owner or driver is unknown, name us as the de-
fendant.

(b) when suit is filed, immediately give us copies of
the suit papers.

a. if the insured agrees to settle with another insurer
for theis limits of liabiligy coverage, the insured must
submit this agreement to us in such settlement if the in-
sured intends to pursue ap uninsured motorist claim
against ws.

4. W within 3a days after receipt af the settlement
agreement, we do not:

{a) approve the settlement end the signing of the full
relonse: :

{b) waive our subrogation rights; and

{ce} apree to arbitrate the claim,

the insured may then file suit against us and the per-
son(s) legally liable.

5. Any award ageinst us shall be binding and conclu-
sive against us and the insured up to our coverage limit.

TRUST AGREEMENT
Whenever we make a payment under this coverage:

1. We will be entitled to rapayment of that amount out
of any settlement or judgment the jasured recevers fram
any petson or organization legally responsible for the
bodily injury. .

2, The insured will hold in trust for our benefit all
rights of recovary which ha may beve against any person
or organization responsible for these dameges. He will do
whataver is necessary to secure al) ngbts of recevery and
will de nothing after the loss to prejudice these rights.

3. At our written request, the insured, in his own name,
will take through a designated representative appropriate
actions necessary to recover payment for damages from
the legally responsible person or organization. The -in-
sured will pay us out of the recovery for our expenses,
costs and attorney's fees.

4, The jnsnred will execute and furnish ua with any
needed documents to secure his end our rights and obli-
gations.

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CONDITIONS

Tha following conditions apply only to the Unin-
suted Motorist coverage: ‘

1. NOTICE

As soon as possible after an accident, notice must be
given us or our authorized agent slating:

(8) the identity of the insured,

(b) the time, place and details of the accident; and

{c) the names and addresses of tha injured. and of
any witnesses.

If the insured or bia legal representative files sult be-
fore we make a settlement under this coverage, he must
immediately provide us with a copy of the pleadings.

2. ASSISTANCE AND COOPERATION OF THE
INSURED

After we receive notice of a claim, we may require
the insured to take any action necessary to preserve bis
recovery Tighls against apy allegedly legally responsible
person or organization. We may require the Insured to
make that person or organization a4 defendant in any ac-
tion against us.

3. ACTION AGAINST US

Suit will not He against us unless the insured or his
legal representative bave fully complied with all the pol-
icy terms.

4, PROOF OF CLAIM - MEDICAL REPORTS

As soon as possible, the insured or cther parson
making claim must give us written proof of claim, under
osth if required. This will include details of tho nature
and extent of injuries, treatment, and other facts which
may affect the amount payable.

The insured and other persons making cleim must
submit to examination under oath by any person named
by us when and as often as ‘we may reesonably require.
Proof of claim must be made on forms furnished by us
woless we have not furnished these forms within 15 days
afier receiving notice of claim,

The injured person wil] submil to examination by
doctors chosen by us, al our expanse, 6s we may Tea-
sonably require. In the event of the inswred’s incapacity
or death, bis legal representative must, at our request,
authorize us te obtain medical reports and cepies of rec-
ords.

5, PAYMENT OF LOSS

Any amount due is payable:

{a} to the insured or his authorized representative:
{b) if the insured is 2 minor, to bie parent or guard-
jan; or .

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{c} if the insured is deceased, to his surviving
spouse; otherwise

id) to a person authorized by law to receive the
payment; or to a person legally entitled to re-
cover payment for the damages.

We may, ai our oplion, pay an amount due in accor-
dance with {dj} abova.

SECTION ¥ - GENERAL CONDITIONS
These Conditions Appiy To All Coverages In This Policy.

1. TERRITORY - POLICY PERIOD

This policy applies.only to accidents, occurrences or
losses during the policy period within the United States
of America, its territories and possessions. or Canada and
while en owned auto is being transported between ports
thereof.

Uniess otherwise cancelled, this policy will expire as
shown in the declarations. But, it may be continued by
out offer to renew aud your acceplance prior to the expi-
ration date. Each period will begin and expire at 12:04
A.M. local tins at your address stated in the declara-
ions.

2. PREMIUM

When you dispose of, acquire ownership of, or re-
plece 9 private passenger, farm or utility cute, any
necessary premium adjustment will be made as of the
date of the change and in eccordance with our manuals.

a4, CHANGES

The terme and provisions of this policy cannot be
walved or changed, except by an endorsement issued to
form a part of this policy.

We may revise this pclicy during its term to provide
more coverage without an increase in premium. If we dao
so, pour policy wili automatically include the broader
coverage when effective in your siate.

The premium for each auto is based on the informa-
tien we hava in your file. You agres:

(a) that we may adjust your policy premiums during
the policy term if any of this information on
which the premiums are besed is incorrect, in-
complete or changed.

th) that you will cogperate with us in detarmining if
this information is correct and complete.

(c} that you will notify us of any changes in this in-
formation.

Any calculation or recelculation of your premium or
changes in your coverage will be based on the rules, rates
and forms on file, if required, for our use in your state.

4. ASSIGNMENT

Assignment of interest under this policy will not
bind us without our consent.

¥f you die, this policy will cover:

(2) your surviving spouse;

(b) the executor or administrator of your estate, but
only while acting within the scope of his duties;

(ce) any person having proper temporary custody of
the owned aute, as an insured, until the ap-
pointment end qualification of the executar or
administrator of pour estate: and

{d) under the medical payments coverage, a person
who wes a relative at the time of your death.

5. CANCELLATION BY THE INSURED

You may cancel ibis policy by providing notice to us
slating when, after the notice, cancellation will bs effec-
live.

However, you may not cancel during the first two
months immediately following your policy's effective
date except:

{a} upon total destruction of all of the owned autos;

{b) npon transfer of ownership of sll of the owned
outos,

(c}) if yeu obtained a replacement policy covering an
owned auto elsewhere; or

(d) when we notify you thal the preminm charged
must be increased to comply with our rate filings
or the applicable Jews of Florida. In such event,
you have ten days in which to request cancella-
tion of the policy and a return of the unearned
premium.

If this policy is cancelled, pou may be entitled to a
premium refund. The premium refund, if any, will be
computed ona pro-rated basis according to our manuals.

6. CANCELLATION BY US

We may cancel this policy by mailing to you, at the
afidress shown in this policy, written notice stating when
the cancellation will be effective. This notice will be
mailed by United States Post Office certificate of mailing.

We will mail this notice:

fa) 10 days in advance if the proposed cenceiletion
is for nonpayment of premium or any of its in-
staliments when due;

(b) 45 deys in advance in all othar cases,

The mailing or delivery of the ebove notice will be
sufficient proof of netice. The policy will cease io be in
affect as of the date and hour stated in the notice.

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If this policy is cancelled, you may be entitled to a
premium refund. The premium refund, if apy, will be
computed on a pro-rated basis according to our manuals.

Payment or tender of unearned premium is not a
condition of cancellation.

7, GANCELLATION BY US 18 LIMITED

After this policy has been in effect for 60 days or, if
the policy is a renewal, effective immediately, we will
not cancel unless:

{a) You do uot pay the premiums for this policy or
apy installment when due to us or our agent; or

(b} Any insured has had his driver's Ncense or mo-
tor vehicle registration under suspension or
ravocation; either:

(i) during the current policy periad; or
(ii} during the preceding 188 days if this is a
new policy; or

{c) There has been fraud or meterial mistepresenta-
Hon under the policy in your application or in
making & claim.

We will not-cancel e new policy during the first 60
days immediately following the the affective date of the
policy for nonpayment of premium unless the reason for
the cancellation is the issuance of a check for the pre-
mit that is dishonored for any reason.

Nothing in this section will require us to renew this
policy.

&, RENEWAL

We agree that we will not refuse to renew or continee
ihis policy unless e written notice of our refusal to renew
or continue is mailed to you, at the address shown in this
policy, at Isast 45 days prier to the expiration date. This
notice will bo mailed by United States Post Office certifi-
cate of mailing. The mailing ar delivery of this notice wil)
be sufficient proof of notice.

i:

{1} yeu do noi pay the premium as reguited to re-
new this policy; or

(2} you have fnformed us or our agent that you wish
the policy cancelled or not ranawed; or

{3} you do not accept our offer to renew; or

(4) you refuse to provide us with renewal classifica-
tion aud rating information as we may require;

it will be construed to mean that you have refused ous
renewal offer and the policy will expire without notice.

If this policy has been in effect for § years ar more we
will not refuse to renew solely becauss an Insured was
involved in e single traffic accident

& MEDIATION OF CLAIMS

In the event of a claim for bedily injary amounting
to $10,008 or less, or any property damage claim, either

party may demand mediation of the claim, provided that
suit has not yet been filed. Only one mediation may be
demanded for each claim, unless both parties agree to.
more than one mediation. Mediation is not binding on
elther party.

A request for mediation shall be filed with the De-
partment of Insurance on a form appreved by the De-
partment. The request for mediation shall state ihe reason
for the reques! and the issues in dispute which are to be
mediated, Tha Department of Insurance will appoint the
mediator to conduci the mediation. Esch party may once
reject the msdiator selected by the Department, either
originally or after the opposing side bas exercised its op-
tion to reject @ modiator. Each party participating in the
mediation must have the authority to make a binding de-
cision. All parties must mediate in good faith.

The cost of the mediation, as set by the Department
of Insurance, is shared equally by the parties. Costs in-
curred by @ purty {n praparing for or attending the media-
tian ate paid by the party incurring thal cost.

10. OTHER INSURANCE

If other insurance is obtained on your insured auto,
auy similar insurance afforded under this policy for that
Bute will terminate on ihe effective date of the other in-
surance.

11. ACTION AGAINST US

Persons other than the insured covered by this pol-
icy, may not name us as a defendant prior to first obtain-
ing & judgment against an insured.

12, DIVIDEND PROVISION

You are entitled to share in a distribution of the sur-
plus of the Company as determined by its Board of Direc-
tors from time to Lime.

13. DECLARATIONS
By accepting this policy, you agree that:

(a) the sistements in your application and in the
declarations are your agreements and represemita-
tions;

(b) this policy is issued in reliance upon the truth of
these representations, and

ic) this policy, along with the epplication end decla-
ration shast, embodies ali agraements relating te
this insurance. The terms of this policy cannot be
changed arally.

14. FRAUD AND MISREPRESENTATION

Coverege is pot provided to any person wha know-
ingly conceals oz mistepresents any material fact or cir-
cumpstance relating to this insurance:

1. at the time application is made; or
2. at any time during the policy period; or

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3. in connection with the prasestation or setllement
of a'claim.
1§. EXAMINATION UNDER OATH

The insured ot eny other person seeking coverage
under this policy must submit lo exemination under oath

by any parson named by us when and 25 often as we may
reasonably require.

16. TERMS OF POLICY CONFORMED TO

STATUTES
Any tarms of this policy in conflict with the statutes

of Florida are amended to conform to those statutes.

SECTION VI- AMENDMENTS AND ENDORSEMENTS

a. SPECIAL ENDORSEMENT
UNITED STATES GOVERNMENT EMPLOYEES

A. Under the Property Demage coverage of Section I, we
provide coverage to United States Government employ-

ees, civilian or military, vsing

1. Motor vehicles owned or leased by the United
States Government or any of its agencies, or

2. Rented motor vehicle used for United States
Government business,

when such use is with the permission of the United
States Government. Subject to the limits describe in para-
graph B. below, we will pay sums you are legally obli-
gered to pay for demage to these vehicles. -

B. Tho following limits apply to thie coverage:

t. A§100 deductible applies to rach occurrence.
2. For vehicles described in A.1. above, our liability
shall not axceed the lesser of the following:

((C Stick

}. C. Stewart
Secretery

a. The actue! cosh value of the proparty at the
time of the occurrence; of

b. The cost to repair or replace the property, ot
any of its paris with other of like kind and
quality; or

c, Two months basic pay of the insured; or

d, The limit of Property Damage Hability cover-
age stated in the declarations.

3. For vehicles described in A.2. abova, our ligbitity
shall not exceed the lesser of the following:

a. the actual cash value of the property at the
time of the occurrence; or

b, Tha cost to zepair or replace the property, or
any of it parts with other of like kind and
quality; or

c, The Hmit of Property Damage Mability cover-
age stated in the declarations.

This ingurance is excess over other valid and col-
leclible insurance.

Poypunty

0. M. Nicely
President

GOVERNMENT EMPLOYEES INSURANCE COMPANY
GEICO CASUALTY COMPANY
GEICO GENERAL INSURANCE COMPANY
GEICO INDEMNITY COMPANY
HOME OFFICE - 5260 Wastern Avenue
Chevy Chase, Marylend 20815-3799

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GEICO Automobile Policy

Amendment
Policy Number:

Glass Repair/Replacement

Your policy is amended as follows:

SECTION Ef - Physical Damage Coverages

LIMIT OF LIABILITY

The following numbered paragraph is added:

8. for glass repair or replacement, is not to exceed the prevailing competitive price. This is the price we can secure from a
competent glass repair facility conveniently located to yon at the time yeu make pour claim. Although you have the right to

choose any glass repair facility or location, the Jimit of liability for loss to window glass is the cest to:

(a) reppir; or
(b} replace

such glass but will not exceed the prevailing compotitive price. If the glass is replaced, then the cost will be paid at the
prevailing competitive price for replacement. At yonr request, wa will identify a gless repair facility that will perform the
tepaite at the prevailing competitive price.

We affirm this amendment
} € ’
7). C. Stewart 0. M. Nicely
Secretary * GOVERNMENT EMPLOYEES INSURANCE COMPANY . President

GEICO GENERAL INSURANCE COMPANY

SPECIMEN

A-200-FL (32-07)

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GEICO Automobile Policy Amendment

Policy Number: Florida

Foar policy is anended as follows:
Section 1 - Personal Injury Protection and Automobile Medical Payments is replaced in its entirety. with the following:
SECTION I: PART I PERSONAL IN[URY PROTECTION AND PART [V-AUTOMGBILE MEDICAL PAYMENTS

(Automobile Medical Poyments Coverage applies anly if a premium amount is shown in the Policy Declarations for

"Medical Payments" coverage)

PART I - PERSONAL INJURY PROTECTION

DEFINITIONS

The definitions of the terms insured and you under Section 1 apply ta Section H alsa.

1. Bodily injury means bodily injury toa parson, caused by accident, including resulting sickness, disease or death
resulting therefrom. All-claims for damages arising from bodily injury to a person from a single loss shall be
considered one bodily injury.

2. Insored motor vehicle means a motor vehicle:

{a} Of which yeu are the owner, and

(b} With respect to which security is required to be maintained under the Florida Mator Vehicle No-Fault Law, and

fc) For which a premium is charged, or which fs a trailer, other than a mobile home, designed for use with a mofor

a.

3, Medical expanses means reasonable expenses for medically necessary medical, surgical, x-ray, dental, ambulance,
hospital, professional nursing and rebabilitative services for prosthetic devices and for necessary remedial treatment
and services recognized and permitted under the laws of the state for an injured person.

4. Medically necessary refers to a medical service or supply that a prudent physician would provide for the purpose of
preventing, diagnosing, or treating an illness, injury, disease, or symptom in @ manner that is:

(a) In accordance with generally accepted standards of medical practice;

(b} Clinically appropriate in terms of type, frequency, extent, site, and duration; and

(c) Not primarily for the convenience of the patient, physician, or other health cate provider,

5, Motor vehicle means any self-propelled vehicle of four or more wheels which is of a type both designed and required
to be licensed for use on the highways of Florida and any traller or semi-trailer designed for use with such vehicle.

A motor vebicle does not include:

(a) Any motor vehicle which is used in mass transit other than public school transportation and designed to transport
more than five passengers exclusive of the operator of the mofor vehicle and which is owned by a municipality, a
transit authority, or a political subdivision of the state; or

(b} A mobile home.

6. Occapying means in or upon or entering into or allghtiog from;

3. Owner means 6 person or organization who holds the legal ile to a mater vabicle, and also includes:
(a) A debtor having the right to possession, in the event a motor veliicle is the subject of a security agreement, and
(b) A lessee having the right ic possession, in the event a motor vahiclo is the subject of « lease with option to

purchase and such lease agreement is for a period of six months or more, and

{c) A lessee having the right to possession, In the event a motor vahicle is the subject of a lease without option to
purchase, and such lease agreement is for a period of six months or more, and the lease agreement provides that
ihe lessee shall ba responsible for securing insurance;

8. Pedestrian means & person while not an occupant of any self propelled vehicle;

§, Relative means a person related to yam by blood, marriage or adoption (inclvding a ward or foster child) who is
usually # resident of the same household es you;

10, Replacement services expenses means with respect tc the period of disability of the injured person all expanses
reasonably incurred in obtaining from others ordinary and necessary services in lieu of those that, but for such injury,
the injured person would have parformed without income for the benefit of his household;

11. Work Joss means with respect to the period of disability of the injured person, any loss of income and earning capacity
from inability to work proximately caused by the injury sustained by the injured person. we

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PAYMENTS WE WILL MAKE .
Under Personal Injury Protection, the Company will pay, in accordance with, and subject to the terms, conditions, and
exclusions of the Florida Motor Vehicle No-Fault Law, as amended, to or for the benefit of the injured persun:

(a) 80% of medical expanses, aid
(b) 60% of work Joss; and
ic} Replacement services expanses, and
(d) Death benefits.
The above benafits will be provided for injuries incurred as a result of bodify infarp, caused by an accident arising out of
the ownership, maintenance or use of a motor vebicle and sustained by:
(4) Pou or any relative while occupying a motor vehicle or, while a pedestrian through being struck by a motor
vebicle: or
(2) Any other person while eccupying the insured motor vehicle or, while a pedestrion, through being struck by the
insured molor vehicle.

“EXCLUSIONS

Section Ii - Part I does not apply:

i. To you or any relative injured while occupying any motor vehicle owned by you and which is not an insured motor
vehicle under this insurance;

2, To any person while operating the insured motor vehicle withovt your express or implied consent;

3, To any person, if such person's conduct contributed to his bodily infory under any of the following circumstances;
(i) Causing bodily £ojnry to himself intentionally; .
(ii) While committing a felony;

4, To you or any dependent relative for work loss if an entry in the schedule or declarations indicates such coverage
does not apply;

5. Toany pedestrian, otber than you or any relative, not a legal resident of the State of Florida;

6. To any parson, other than you, if such person is the owner of a motor vekicle with respect to which security is
required under the Florida Motor Vehicle No-Fault law, as amended;

7, Tosny person, other than you or any relativa, who is entitled to personal injury protection beuefits fram the owner or
owners of a motor vehicle which is not an insured motor vahicle under this insurance or from the awaer's insurer; or

8. To aay person who sustains bodily injury while ecenpying a motor vehicle |ocated for use as a residence or premises.

LIMIT OF LIABILITY; APPLICATION OF DEDUCTIBLE; OTHER INSURANCE

Regardless of the numbar of persons insured, policies ar bonds applicable, vehicles involved or claims made, the total

aggregate limit of personal injury protection benefits available under the Florida Motor Vehicle No-Fault Law, as arnended,

from all sources combined, including this policy, for all loss and expense incurted by or on behalf of any one person who

sustains bodily infury as the result of any one accident shall be $10,000; provided that payment for death benefits included

in ibs Sosegoing shall be equal to the lesser of $5,000 of the remainder of unused personal injury protection benefits per

INnOiVIOUA,

After the deductible is met, each éngured is eligible (o receive up to $10,000 in total benelits described. The amount of any

deductible stated in the declarations shall be deducted from al) expenses or losses as described in FL Stat § 627.736 with

respect lo all madico! expenses, roplacament services expenses and work less incurred by or on bebalf of each person to

whom the deductible applies and who sustains bodily injury as the result of any one accident. Such deductible will not

apply to the death benefit.

Any amount available for payment under this insurance shall ba reduced by the amount of benefits.an injured person has

recovered for the same elements of toss under the workmen's compensation laws of any state or tbe federal government.

If benefits have been recived under the Florida Motor Vebicle No-Fault Law, as amended, from any insurer for the same

itams of loss and expense for which benefits are available under this policy, we shall not be liable to make duplicate

payments to or for the benefit of the injured person, but the insurer paying such benefits shall be entitled to recover from us

its equitable pro rata share of the benefits paid and expenses incurred in processing the claim.

POLICY PERION - TERRITORY

The insurance under this Section applies only to accidents which oocur during the policy period:

{a} in the State of Florida;

{b} As respects you or a relative, while oceapying the insured motor vehicle outside the State of Florida but within the
United States of America, its territorias or possessions or Canada; and

(c) As respects pedestrians injured when struck by the insnred motor vahicle in the State of Florida, if they are wot the
owner of a motor vekiele for which coverago is required to be maintained under the Florida No-Fault Law,

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CONDITIONS

i. NOTICE .
In the event of an accident, written notice of the loss must be given to us ot any of our authorized agents as soon as
practicable. If any injured person or his legal representatives shall institute legal action io recover damages tor bodily
infary against 3 third party, a copy of the summons aud complaint or other process served in connection with such
legal action shall be forwarded as soon as practicable to us by such injured person or his legal representative.

2. ACTION AGAINST THE COMPANY a

No action shal] He against us unless, as a condition precedent thereto, there shai] have been full compliance with ail
terms of this insurance, and in accordance with, and subject io the terms, conditions, and exclusions of, the Florida
Motor Vehicle No-Fauit Law, as amended.

3. PROOF OF CLAIM; MEDICAL REPORTS AND EXAMINATIONS; PAYMENT OF CLAIM WITHHELD
AS soon as practicable the person making the claim shall give to us written proof of claim, under oath if required,
which may include fall particulars of the nature and extent of the injuries and treatment received and contemplated,
and such other information as may assist us in determining the amount due and payable. Such parson shall submit to
mental or physical examinations at our expense when and as often as we may reasonably require and a copy of the
medical caport shall ba forwarded ta such petson if requested. Such examinations shall be conducted within the
municipality where the ingured is receiving treatment, or in a location raasonably accessible to the insared, which, for
purposes of this paragraph, means acy location within the municipality in which the insured resides, ar any location
within 10 miles by road of the frsmred's residence, provided such location is within the county in which the insured
resides. If the person unreasonably refuses to submit to an examination, we will not be liable for subsequent personal
injury protection benefits.
Whenever a person making a claim is charged with committing a felony, we shall withhold benefits until, at the tial
level, tha prosecution makes a formal entry on the record that it will not prosecute the case against the person, the
charge is dismissed or the person is acquitted.

4. REIMBURSEMENT AND SUBROGATION

In the avent of payment to or for the benefits of any injured person under this insurance:

{a} The Company is subrogated to the rights of the person to whom or for whose benefit such payments were made to
the extsal of such payments. Such person shall execute and deliver the instruments and papats and do whatever
else is necessary to secure such rights, Such person shall do nothing after loss lo prejudice such rights.

(b) The Company providing personal injury protection benefits on a private passenger motor vehicle, as defined in the
Florida Motor Vehicle No-Fault Law, shall be entitled to raimbursarment to the extent of the payment of personal
injory protection benefits from the ewneror insurer of the awner of a commercial motor vehicle, as defined in the
Florida Motor Vehicle No-Fault Law, if such injured person sustained the injury while oceupying, or while a
Pedestrian through being struck by, such commercial motor vehicle.

5. SPECIAL PROVISION FOR RENTED OR LEASED VEHICLES
Notwithstanding any provision of this coverage to the contrary, if a person is injured while ecenpying, or through
being struck by, a mofor vehicle rented or leased under a rental or lease agreement, within the state of Florida, which
dees not specify otherwise in at least 10 point type on the face of such agreament, the personal injury protection
coverage afforded under the lessor's policy shall be primary. Personal injury protection coverage offered under this
policy will sot apply to a vehicle rented, operated, used, or leased outside the state of Florida.

PART 1 - MODIFICATION OF POLICY COVERAGES

Any Automobile Medical Paymenis insurance, any Uninsured Motorists coverage or eny excess Underinsured Motorists

coverage afforded by the policy shall be excess over any Personal Injury Protection benefits paid or available for payment or

which would be available but for the application of a deductible.

Regardless of whether the fall amount af Personal injury Protection benefits have been exhausted, any Medical Payments

insarance afforded by this policy shall pay the partion of any claim for Personal injury Protection medical expenses which
are otherwise covered Inst not available for payment due to the limitation of 80% of medical expanges contained in Part |
but shall not be payable for the amount of the deductible selectad.

PART IE- PROVISIONAL PREMIUM =

It is agreed thet in the event of any change in the rules, rates, rating plan, premiums or minimum premiums applicable to
tbe insurance afforded, because of an adverse judicial finding as to the constitutionality of any provisions of the Florida
Mator Vehicle No-Fault Law, as amended, providing for the exemption of persons from tort liability, the premium stated in
the declarations fir any Liability, Medical Feyments end Uninsured Motorists insurance shail be desined provisional and
subject ta recomputation. if this policy isa renewal policy, such recomputation shall also include a determination of the
amount of any return premium previously credited or refunded to the named insured pursuant to the Florida Motor Vehicle
No-Fault Law, as amended, with respect to insurance afforded under a previous policy.

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ifthe fina) premium thus recomputed exceeds the premium stated in the declarations, the insured shall pay to the
Company the excess as well as the amount of any return premium previously credited or refunded.

PART IV - AUTOMOBILE MEDICAL PAYMENTS COVERAGE

{Automobile Medical Payments coverage applies only if a premium amount is shown in the Policy Declarations for
“Medical Payments” coverage)

DEFINITIONS
The definitions of the terms insured and you undor Section i apply to Section It - Part IV also. The definitions under
Section I - Part 1 also apply to Section I - Part IV.
PAYMENTS WE WILL MAKE
Under Automobile Medical Payments coverage, the Company wil! pay benefits for injuries incurred as a result of bodily
injary, caused by an accident arising out of the ownership, maintenance or use of a motor vehicle and sustained by:
{t} Fow or eny relative while cecupying 4 motor vehicle or, while a pedesizian through belag strack by a motor
vahitla; cr
(2) Any other occupants of the insured motor vabécls injured in an accident that occurs outside the state of Florida,
but within the United States of America, its territories ot possessions, or Canada.
In addition, we will pay, subject to the coverage limit:
(a) The portion of any claim for Personal Injury Protection medical expense benetits otherwise covered but not payable
due to the coinsurance protision of the Personal Injury Protection coverage. This is the 20% of medical axpanses
not covered in Part 1- Payments We Will Make, item (a):
(b) Any medical expanses in d that exceed the Persone! Injury Protection medical expense coverage limit; and
(c} Medical expanses incurred by yor or any redative that result from injuries received while ocezpying a motor
vehicle or as a pedestrian in wn accident that occurs outside the state of Florida, but within the United States of
America, its territories or possessions, or Canada.
EXCLUSIONS
Automobile Medical Payments coverage does not apply:
1. To yor or any relative injured while occupying any motor vehicla owned by yoo and which is not an insured molor
veldcle under this insurance;
. To any person while operating the insured motor vehicle without pour express or implied consent;
3. To any parson, if such person's conduct contributed to his bodily injury under any of the following circumstances:
(i) Causing bodily injury to himself intentionally;
(ii) While committing a felony;
4. Toany pedestrian, other than yor or any relative, or
$, To any person who sustains bodily injury while occupying « motor vehicle located for use as a residence of premises.

LIMIT OF LIABILITY

Regardless of the number of persons insured, policies or bonds applicable, vebicles involved or claims made, the total
aggregate limit of Autoroobile Medical Payments benefits available from all sources combined, including this policy, for ail
loss and expense incurred by ot on behalf of any one person who sustains bodify injary as.the result of any one accident is
the amount listed in the declarations page.

OTHER INSURANCE

Any amount available for payment under this insurance shall be reduced by the amount of benefits an injured person has
recovered for the same elements of loss under the workmen's compensation laws of any state or the federal government.

If benefits bave baon received under any similar coverage from sny insurer for the same items of Inss and expense for
which benefits ate available under this policy, we shall not be lisble to make duplicate payments to or for the benefit of the
injured person, but the insurer paying such benefits shal be entitled to recover from us its equitable pro rata share of the
benefits paid and expenses incurred in processing the claim. This coverage wil] coordinate with any applicable Personal
Injury Protection benefits but will not duplicate any benefits available for payment.

Any Uninsured Motorists coverage or any excess Underinsured Motorists coverage afforded by the policy shall be excass
over any Automobile Medical Payments benefits paid or available for payment or which would be available tnt for the
application of a deductible; and subject to the terms und conditions of the Uninsured/Underinsured Motorist coverage.

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POLICY PERIOD - TERRITORY

The insurance under this Section applies only to accidents which occur during the policy period:

{a) Ih the State of Florida;

(b) As respects you or a relative, while occupying the insured motor vehicle outside the State of Florida but within the
United States of Ametica, its territories or possessions ar Canada; and

{c) We will cover you or any refative for injuries incurred while occupying a motor vehicle or as a pedesirion in an
aecident that occurs outside the state of Florida, but within the United States af Amerita, its tercitories or possessions,
or Canada, This coverage is excess aver any other valid and collectible insurance provided with respect to the
occupied motor vehicle,

(d) We will cover occupants of the insured motor vebicls injured in an accident thet occurs outside the state of Florida,
but within the United States of America, Its territories or possessions, or Canada.

CONDITIONS . '

1. NOTICE
In the event of an accident, written notice of the loss must be given to us or any of our authorized agents as soon as
practicable, If any infured person or his fegal represeriatives shell institute legal action to recover damages for bodily
injury against a third party, a copy of the summons end complaint or other process served in connection with such
legal action shall be forwarded as soon as practicable fo us by such injured person or his legal representative.

2, ACTION AGAINST THE COMPANY '
No action shall-lie against us unless, as a condition precedent thereto, there shall have been full compliance with all
tarmis of this insurance,

4. PROOF OF CLAIM; MEDICAL REPORTS AND EXAMINATIONS; PAYMENT OF CLAIM WITHHELD
As soon as practinable the parson making the claim shall give to us written proof of claim, under oath if required,
which may include full particulars of the nature and extent of the injuries and treatment received and contemplated,
and such other information es may assist us in determining the arsount due and payuble. Such person sbal} submit to

mental or physical examinations at our expense when and as often as we may reasonably require and a copy of the
medical report shall be forwarded te such parson if requested. Such examinations shall be conducted within the

municipality where the itsured is recelving treatment, or in a location reasonably accessible to the insured, which, for -

purposes of this paregraph, maans any location within the municipality in which the insured resides, or any location
within 10 miles by toad of the desnred's residence, provided such location is within the county in which the insored
resides, Jf the person unreasonably refuses to submit to an examination, we will not be liable for subsequent
automobile medical payment benefits.
Whenever a person making a claim is charged with committing a felony, we shall withhold benefits until, at the trial
level, the prosecution makes a formal antry on the record that it will not prosecute the casp against the person, the
charge is dismissed or the person is acquitiad.
We also have the right to determine if incurred charges and treatment are reasonable, modicelly necessary and
causally related to a hedily injury sustained in an accident. This determination may be made by use of utilization
review, poar reviews, medical bill reviews or medical examination.

4, SUBROGATION
Jn the event of payment to or for the benefits of any injured person under this insurance the Company is subrogated to
the rights of the person to whom or for whose benefit such payments ware made to the extent of such payments. Such
person shall execute and deliver the instrmments and papers and do whatavor else is necessary to secure such rights.
Such person shall do nothing after loss to prejudice such rights.

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SECTION IV - UNINSURED MOTORISTS COVERAGE
DEFINITIONS
Under what the term “aninsured auto" does nol include, subparagraph (b) is deleted.
LOSSES WE PAY
The following sentence is added to the first paragraph:
However, we will not pay damages for: (a) pain; (b) suffering; {c) mental anguish; or (d) inconvenience unless the
bodily injury consists in whole or in part of
(a) Significant and permanent loss of an important bodily function; or
fb) Petmanent injury within a reasonable degree of medical probability; or
{c} Significant and permanent scarring ot disfigurement; ax”
(d) Death.
‘The second paragraph is deleted.
EXCLUSIONS
Exclusion &. is deleted.

We affirm this amendment.
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}.C. Stewart O. M. Nicely .
Secretary President

A-S4PL (01-08) Policy Nomber: / Page 6 of 6
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Sricg Automobile Policy Amendment
Emergency Raad Service Coverage
Policy Number: ,

Your policy provisions are amended as follows:

SECTION il

PHYSICAL DAMAGE COVERAGES

Emergency Road Service

We wil! pay reasonable expenses ao lasured incurs for the owned of non-owned auto, for.

mechanical labor up 10 one hour at the place of breakdown:

lockout services up to $100 per lockout if keys to the auto are lost, broken or accidentally locked in the aut;
iF it will not nun, towing to the naarest cepair facility where the necessary tepairs can be made.

towing it out if itis stuck on or immediately next to a public highway;

delivery of gés, o'l, loaned battery. or change of tire. WE DO NOT PAY FOR THE COST OF THE GAS, OIL, LOANED
BATTERY, OR TIRE(S).

ORTAINING SERVICE UNDER THIS AMENDMENT

You may secure service under this amendment In the follawing manner:

SIGN AND DRIVE

The first method, called sign and drive, features a toll-free number in which the insared calls a GEICO Emergency Road
Service representative who will dispatch a service vendor. Upon verification of Emergency Road Service (ERS) coverage,
reasonable and necessary charges for covered services provided will be automatically billed to the Company by the Service
vendor. The insured need only sign a receipt at the time of service which authorizes the company to directly pay the
service vendor. Any additional mileage, other fees noi specifically addtessed above, or lockout services ia excess of $100
will be at the insured's expense.

HIRED SERVICES :

The second method occurs when the insured does not use the sign and, drive feature described above and hires services
without prior approval irom the Emergency Road Service (ERS) Department. Upon verification of Emergency Road Service
(ERS) coverage, for covered services provided, up to a limit of $50 will apply. Lockout services are limited to $100.
Requests for reimbursement must be sccompenied by an original itemized teceipt and must be submitted within 60 days of
service.

There will be a limit of one ceimbursement per disablemart.

we we

We affirm this amendment.

W.G. E. Robinson 0. M. Nicely
Secretary President

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GEICO

Policy Number:

We agree with you as fallows:

SECTION If
PHYSICAL DAMAGE COVERAGES

Section HI is amended to provide Mulli-Risk Physical
Damage Coverages. This includes:

1. comprehensive;
2. collision; and
3, mechanical breakdown protection.

This amendment is subject te all policy conditions and
definitions except as specifically modified below.

The amount of applicable deductible shown in the policy
declarations shal) apply lo sach Joss under the Mu)ti-Risk
Covetage. A $5@ deductible shall apply to glass breakage,
except windshivld glass, withoul any other damage to the
auto.

Mechanical Breakdown

We will pay for Joss caused othar than by collision or
under the comprehensive coverage due to the mechanical
breakdown of the owned auto. Losses from methanical

breakdown shall not be eccumulsted to reach the
deductible,

Definitions

For the purposes of this amendment, the following
special definitions apply with respect to mechanical
breakdown only:

q. “Loss” means al] risk of pbhystcal damage to the
owned cute or its equipment.

5. "Owned auto” means any vehicle described in this
policy for which « epecific premium charge
Indicates there is coverage. “Owned auto” does not

mean!

a) anewly acquired vehicle; or

b) a replacement vebicle; or

¢] atemporary substitute auto.
Exclusions

For the purposes of this amendment only, with respect to
mechanical breakdown, exclusion 4 is deleted. The
following exclusions are added:

A-180-H (2-06)

Family Automobile Policy
Amendment

Multi-Risk Physical Damage
Coverage

11. Oxidation and nist damage ate not covered.

12. Damage taused intentionally by you or any other
person using an ewned euto with your permission
is not covered.

18, Loss due to misuse, alteration, or lack of proper

maintenance is not covered. Proper mainlenance is
the recommended vehicle maintenance as outlinad
in the owner's manual provided by the
manufacturer.

14. Tire wear and other daraage caused by and limited
to wear and tear is not covered.

15. Routine meittenance services and paris are not
covered. This includes; but is not imited to:
8) engine tune up;
b) suspension alignment:
¢} wheal balancing;
d) filters;
e) lubrication;
f} engine ceolant;
g) fluids;
h) apark or glow plugs:
i) brake pads;
f) brake linings; and
k} brake shoes.
16. Any Jess to the extent covered by warranty, recall or
voluntary repair programs is not covered.

17. Any Joss to a non-owned auto or to 6 temporary
substitute auto is not covered.

18, Any loss to a newly acquired or replacement auto is
not covered.

45. Any pre-existing Joss or damage te any insured auto
is not covered.

‘20. The mechanica) breakdown protection portion of

Multi-Risk Coverage wil) either terminate when the
Odometer reading exceeds 100,000 miles or when
the age of the vehicle is 7 years old, whichever
- occurs earlier, The 7 yeat stipulation will only
apply to vehicles that are 2986 model pear and later.

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Uninsured Motorist Coverage (Non-Stacked]}
(Florida)

Policy Number:

_ In consideration of the payment of premium for this coverage, and subject to all the terms of the policy, we agree with you
as follows:
Section IV, LIMIT OF LIABILITY, is amended by adding the following paragraphs:

5. When coverage is afforded to two or more autos, the limits of liability shall apply separately to each auto as slated in
the declarations. ,

6. Ifatthe time of the accident the injured person is occupying an auto insured by us, the amount of coverage avajlable to
the injured person is the limit specified in the declarations for the occupied auto.

7, Ifattha time of the accident the injured person is net occupying a motor vehicle, the injured parson is entitled to
select any one limit of any one auto insured under this coverage.

8, fat the time ofthe acctdent the injured parson is occupying a motor vehicle which is not owned by bim or by a family
member residing with him, he is entitled to the highest limits of uninsuzed motorist coverage afforded for any one
vahicle as to which he is the named insured or insured family member. Such coverage shall be excess over the
coverage on the vehicle he is occupying. oO

if separate polictea with us are in effect for you ot any parson in your housohold, they may not be combined to incraase the
limit of Hability for a loss,
THE COMPANY affirms this endorsement.

(jC Steet

}.C. Stowast O. M. Nicely
Secretary . GOVERNMENT EMPLOYEES INSURANCE COMPANY . Prasident
GEICO GENERAL INSURANCE COMPANY :

A-239 (7-88)

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GEICO |. AUTOMOBILE POLICY AMENDMENT

RENTAL REIMBURSEMENT AMENDMENT
Policy Number:

We agree with you that the policy is amended as follows:
SECTION Ul. PHYSICAL DAMAGE COVERAGES
The following coverage is added:
Coverage-Rental Reimbursement
When there is a loss to an owned auto for which @ specific premium charge indicates thal rental reimbursement
coverage is afforded:
We wil reimburse the insured toward costs the insured incurs to rent an aula. Reimbursement will not exceed the limits
described in the declarations and payment will be limited to a reasonable end necessary period of time required to repair
or replace the owned auto, This covarage applies only If:
i. The owned auto is withdrawn from use for more Ihan 24 consecutive houre, and
2. The foss to ihe owned auto is covered under comprehensive or collision coverage of this policy.
When there is a total theft of the entire auto, we will reimburse the Insured toward costs the Insured incurs to rent an
auto, subject to the following limitations:
1. This coverage will reimburse the insured for reasonable rental expenses beginning 48 hours after a thefi of the
entire vehicle covered under the comprehensive coverage of this policy; and
2. This coverags may be used to relmburse reasonable rental expenses in excess of those provided by Section Hi
of the policy if and to the extent the coverage limits under rental relmbursement exceed those provided in
Section fl! of the policy. in that event, the amount payable under this amendment is the amount by which this
coverage exceeds those described in Section til of the policy; and
3. Subject to number 2 above, in no event shail the total amount payable undar both this coverage and the
supplemental coverage in Section Ill of the policy exceed the daily mil of coverage provided by this amendment.
Reimbursament for rentai charges shall end the earliest of when the owned aufo has been.
1. Retumed to you;
2. Repaired;
3. Reptaced; or
4. Ifthe owned auto is deemed by us to bé a total loss, then seventy two (72} hours after we pay the applicable
limit of liability under Section dil.
No deductible applies to this coverage.
The coverage provided by this amendment is subject to all the provisions and canditions of SECTION Ili of the policy.

The COMPANY affirms this amendment

Cs er . K x

W,C.E. Robinson ©. M, Nicely
Sacretary President

SPECIMEN

AnA37 (05-06) ©

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wena Se-8:16~6¥-.00280.5 B-MAP..._Document2 . Filed 02/04/16 Page 41 of 55 PagelD 63

ENDORSEMENT
LOSS PAYABLE CLAUSE

The Policy Number and Effective Date need be completed only when this endosement is issued subsequent to praparation of the policy.
Policy Number.
Effective Date:

Any claim under the Physical Damage Coverages of the policy will be paid jointly to the insured and the Lienholder in the
Declarations,

The Lisnholder must notify us if he becomes aware of any increased hazard or change of ownership of the auto or he will
lose all of his rights under this policy.

If the insured fails to file with us a Proof of Loss within 91 days after the loss, the Lienholder must do so within the follow-
ing 6D days. The policy provisions en time of payment, appraisal and the right to sue us applies both to ths Lienholder and
the insured, We may settle a claim at our option by separate payment to the insured end the Lienbaldar.

Whenever we pay the Lienholder, we shall be subrogated to the Lienholder's rights of recovery to the extent of the payment.
If the policy is in effect as to the Lienholder but has been canceled as to the insured, the Lienholder must assign the lodn to

us if we ask and we pay the full amount due.

We will mail notice to the Lionholder at least 10 days before we cancel his interast in the policy.

This endarsement forms a part of your policy. It is effective at 12:01 AM. local time at your addxess on the effective date
shown above.
RETAIN THIS COPY FOR YOUR RECORDS

Countersigned by Authorized Representative

sins SPECIMEN
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Exhibit B
Case 8'I6-cv-00280-S_B-MAP ~Document2_ Filed 02/04/16 Page 43 of 55 PagelD 65

Filing Number: 287609

Filing Accepted: 6/10/2015

Warning! information submitted as part of this civil remedy notice is a public record. Data entered into
this form wilt be displayed on the DFS website for public review. Please DO NOT enter Social Security
Numbers, personal medical information, personal financial information or any other information you do not
want available for public review.

The submitier hereby states that this notice is given in order to perfect the rights of the person(s)
damaged to pursue civil remedies authorized by Section 624.155, Florida Statutes.

CSS re
Name: ANGELA COLLINS
Street Address: 6819 VINTAGE LANE
City, State Zip: PORT ORANGE, FL 32128

Email Address:
Complainant Type: Insured

ANGELA COLLINS

Name:
Policy #: 4414-11-82-06
Claim #: 033425101 0107 042

reer z a es = a
Name: MATTHEW D. POWELL

Street Address: 304 S. PLANT AVE.

City, State Zip: TAMPA, FL 33606

Email Address; MATT@MATTLAW.COM

DCE] Meee eS

insurer Type: Authorized Insurer

Name: GEICO GENERAL INSURANCE COMPANY
Street Address:

City, State Zip: :

Please identify the person of persons representing the insurer who are most responsible for/knowledgeable of the
facts giving rise to the allegations in this notice.

WADE KNOECK

Type of Insurance: Auto

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Filing Number: 287609

Re oeanooas

Reasons for Notice:

Claim Denial
Ciaim Delay
Unsatisfactory Settiement Offer

Unfair Trade Practice

PURSUANT TO SECTION 624.155, F.S. please indicate all statulory provisions alleged to have been violated.

624.155(4}(b)(1) Not aftempting in good faith to settle claims when, under all the circumstances,
it could and should have done so, had it acted fairly and honestly toward its
insured and with due regard for her or his interests.

624.155(4)(b){3) Except as to lability coverages, failing to promptly settle claims, when the
obligation to settle a claim has become reasonably clear, under one portion of
the insurance policy coverage in order to influence settlaments under other
portions of the insurance policy coverage,

626.9541(41){i}(3)(a) Failing to adopt and implement standards for the proper investigation of
claims.

626.9541(1}(i}(3)(b) Misrepresenting pertinent facts ot insurance policy provisions relating to
coverages at issue.

626.9541(1){i)(3){c}_ Failing to acknowledge and act promptly upon communications with respect to
claims.

626.9541(1}()(3)(d) Denying claims without conducting reasonabie investigations based upon
available information.

626.9544(1}(3}(3)(e} Failing to affirm or deny full or partial coverage of claims, and, as to partial
coverage, the dollar amount or extent of coverage, or falling to provide a
written statement that the claim is being investigated, upon the written request
of the insured within 30 days after proof-of-loss statements have been
completed.

626.9541(1)()(3)(f) ~~“ Failing to promptly provide a reasonable explanation in writing to the insured
of the basis in the insurance policy, in relation to the facts or applicable law,
for denial of a clairn or for the offer of a compromise settlement.

626.9541(1)(I)(3){g)_ Failing to promptly notify the insured of any additional information necessary
for the processing of 2 claim.

Reference to specific policy language that is relevant to the violation, if any. if the person bringing the civil action is a
third party claimant, she or he shail not be required to reference the specific policy language if the authorized insurer
has not provided a copy of the policy fo the third party claimant pursuant to written request.

Geico General Insurance Company UM language policy 4111-11-82-06

SECTION IV - UNINSURED MOTORISTS COVERAGE

Protection For You And Your Passengers For injuries Caused By Uninsured And Hit-And-Run Motorists
DEFINITIONS

The definitions of terms for Section { apply ta Section

IV. except for the following speciat definitions:

1. "Hit-and-run auto” is an auto causing bodily injury to an insured and whose operator or owner cannot be
identified, provided the insured or someone on his behalf:

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(a) reports the accident as soon as possible to a police peace or Judicial officer or to the Commissioner
of Motor Vehicles;

(b) files with us as soon as possible a statement setting forth the facts of the accident and claiming

that he has a cause of action for damages against an unidentified person.

2. "Insured" means:

(a) the individual named in the declarations and his or her spouse if a resident of the same household;
{b} relatives of (a} above if residents of his household;

ic) any other person while occupying an insured auto;

{d) any person who is entitied to recover damages because of bodily injury sustained by an insured
under (a). (b). and (e} above.

If there is more than one insured, our timits of liability will not be increased.

3. “Insured auto” is an auto:

(a) described in the declarations and covered by the Bodily Injury Liability coverage of this policy;

(b) temporarily substituted for an insured auto when withdrawn from normal use because of its
Breakdown, repair, servicing, loss or destruction;

(c) operated by you or your spouse if a resident of the same household,

But the term “insured auto" does not include:

(i} an auto used to carry passengers or goods for hire, except in a car-pool;

{ii} an aute being used without the owner's permission; or

(iii} under subparagraphs (b} and {c} above an auto owned by or furnished for the regular use of an
insured.

4, "Occupying" means in. upon, entering into or alighting from,

§. “State includes the District of Columbia tha territories and possessions of the United States and the
Provinces of Canada.

6. “Uninsured auto” is an auto:

(a} which has no Ilability bond of insurance policy applicable with fiability limits complying with

the Financial Responsibility Law of the state in which the insured auto is principally garaged at

the time of the accident; or

(b) for which the total of all bodily (njury liability insurance available in the event of an accident is less than
the damages sustained in an accident by an insured; or

(c) a hit-and-run auto.

This term also includes an auto whose insurar is or becomes Insolvent or denfes coverage.

The term "uninsured auto” does not include:(a) an insured auto;

(b) an auto owned or operated by a self insurer within the meaning of any motor vehicle financial
responsibility law, motor carrier law or any similar law;

(c) an autc owned by the United States of America, any other national government, a stafe, or a political
subdivision of any such government or its agencies;

(d) a fand motor vehicle or trailer operated on rails or crawler treads or located for use as a residence

or premises and

(6) a farm-type tractor or equipment designed for use principally off public roads, except while used
upon public roads.

LOSSES WE PAY

Under the Uninsured Motorists coverage we wiil pay damages for bodily injury caused by accident which
the insured Is iegally entitled to recover from the owner or operator of an uninsured auto arising out of the
ownership, maintenance or use of that auto.

However, we will not pay until the total of all bodily injury lability Insurance avaliable has been exhausted
by payment of judgments or settlements.

EXCLUSIONS

When Section [Vv Does Not Apply

4. This coverage does not apply to bodily injury to an 1 insured if the insured or his tegal rapresentative has
made a settlement or has been awarded a judgment of his claim without our prior written consent.

2. Bodily injury to an insured while occupying or when struck by any motor vehicle or motorcycle owned
by an insured or a relative, which is not Insured undar the Liability Coverages section of this policy, is not
covered,

3. The Uninsured Motorists coverage will not benefit any workmen's compensation insurer, self Insurer, or
disability benefits insurer.

4. We do not cover the United States of America or any of its agencies as an insured, a third party
beneficiary or otherwise.

5. This coverage does not apply to any damages far pain and suffering that the insured may be legally
entitled to recover against an uninsured motorist unless the injury or disease caused by the uninsured
motorist accident resulted In:

{a) significant and permanent loss of an important bodily function; of

(b) permanent injury within a reasonable degree of medical probability, other than scatring or
disfigurement: or

{e} significant and permanent scarring or disfigurement or

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{d)} death.

6. Regardless of any other provision of this policy, there is no coverage for punitive or exemplary damages.
LIMITS OF LIABUITY

1. The limit of fiability for Uninsured Motorists coverage stated In the declarations as applicable to “each
person” is the timit of our tiability for all damages, including those for care or loss of services, due to bodily
injury sustained by one person as the result of one accldgnt.

The most we will pay for ail such damages, sustained by one person as the result of one accident, is the
sum of the "each person” limits for Uninsured Motorists coverage shown in the declaratians.

2, The limit of liability stated in the declarations as applicable to “each accident” is, subject to the above
provision respecting each person, the total fimit of our liability for all such damages, including damages for
care and loss of services, because of bodily injury sustainad by two or more persons as the result of one
accident. The most we will pay for all such damages. sustained by two or more persons as the result of one
accident, is the sum of the

"each accident" limits fer Uninsured Motorists coverage shown in the declarations.

3. The limit of liabitity for Uninsured Motorist coverage shall be over and above, but shall not duplicate the
benefits available to an insured under any:

(a) workers’ compensation faw;

(b) personal injury protection benefits;

(c) disability benefits law or similar law; or

(d) automobile medical expense coverage.

4. The fimit of ligbility for Uninsured Motorist coverage shail be over and above, but shall not dupiicate any
amount paid or payable:

{a) under any motor vehicle liability Insurance coverages; or

{b) by or on behalf of the owner or operator of the uninsured mator vehicle or any other person or
organization jointly ar severally lable together with such owner or operator for the accident.

OTHER INSURANCE

When an insured occupies an auto not described in this policy, and not owned by that insured or a relative
this insurance !s excess overt any other similar insurance available to the Insured and. the insurance which
applies to the occupied auto is primary.

Hf the insured has other insurance against a loss covered by the Uninsured Motorist provisions of this
policy, we will not be liable for more than our pro-rata share of the total coverage available.

DISPUTES BETWEEN US AND AN INSURED

4, Disputes between an insured and us as fo tlability and damages may be submitted to arbitration.
Arbitration must be agreed to in writing between the insured and us.

if arbitration is agreed upon, each party shall setect an Impartlal arbitrator, These arbitrators shall select a
third ons.

The cost of the arbitration and any expenses for experts shall be paid by the party who hired them. The cost
of the third arbitrator shall be paid equally by the parties.

2. If the insured and we cannot agree to arbitrate or agree to a third arbitrator, the insured shail:

{a) sue the owner or driver of the uninsured auto and us in 4 court of competent jurisdiction. IT the

owner or driver is unknown, name us as the defendant.

(b) when sult is filed, immediately give us copies of the suit papers.

3. If the insured agrees to settle with another insurer for their limits of liabitity coverage, the Insured must
submit this agreement to us in such settlement if the insured intends te pursue an uninsured motorist claim
against us.

4. If within 30 days after receipt of the settlement agreement, we do not:

(a) approve the settlement and the signing of the full release;

(b) waive our subrogation rights; and

{c} agree to arbitrate the claim,

the insured may then file suit against us and the person(s)legally liable.

s. Any award against us shall be binding and conclusive against us and the insured up to our coverage
lirnit.

TRUST AGREEMENT

Whenever we make a payment under this coverage:

1, We will be entitled to repayment of thaf amount out of any settlement or judgment the insured recovers
from any person or organization legally responsibie for the

bodily Injury.

2. The insured will hold in trust for our benefit all rights of recovery which he may have against any person
or organization responsible for these damages. He will do whatever is necessary to secure ail rights of
racovery and will do nothing after the loss to prejudice these rights.

3. At our written request, the insured, in hls own name, will take through a designated representative
appropriate actions necessary to recever payment for damages from the legally responsible person or
organization. The insured will pay us out of the recovery for our expenses, costs and attorney's fees.

4. The insured will execute and furnish us with any needed documents to secure his and our rights and
obligations.

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CONDITIONS

The following conditions apply only to the Uninsured

Motorist coverage:

1, NOTICE

As soon as possible after an accident, notice must be given us or our authorized agent stating:

(a) the idantity of the insured;

(b) the time, place and details of the accident; and

(e} the names and addresses of the injured. and of any witnesses.

¥f the insured or his legal representative files suit before we make a settlement under this coverage, he must
immediately provide us with a copy of the pleadings.

2. ASSISTANCE AND COOPERATION OF THE INSURED

After wa receive notice of a claim, we may require the insured to take any action necessary to preserve his
recovery tights against any allegedly legally responsible person or organization. We may require the
insured to make that person or organization a defendant in any action against us.

3. ACTION AGAINST US

Suit will not lie against us uniess the insured or his legal representative have fully complied with all the
policy terms.

4. PROOF OF CLAIM - MEDICAL REPORTS

As soon as possibie, the Insured or athor person making claim must give us written proof of claim, under
oath if required, This will include details of the nature and extent of injuries, treatment, and other facts
which may affect the amount payable. The insured and other persons making claim must submit to
examination under oath by any person named by us when and as often as we may reasonably require.
Proof of claim must be made on forms furnished by us unless we have not furnished these forms within 15
days after receiving notice of claim.

The injured person will submit to examination by doctors chosen by us, at our expense, as we may
reasonably require. In the event of the insured's incapacity or death, his legal representative must, at our
request, authorize us to obtain medical reports and copies of records.

5. PAYMENT OF LOSS

Any amount due is payable:

{a) to the insured or his authorized representative:

{b} if the insured is a minor, to his parent or guardian; or

(c} if the insured is deceased, to his surviving spouse; otherwise

{d} to a person authorized by law to receive the payment; or to a person legally entitled to recover payment
for the damages.

We may, at our option, pay an amount due in accordance with (d)} above.

SECTION IV: UNINSURED MOTORISTS COVERAGE

DEFINITIONS

Under what the term “uninsured auto” does not include, subparagraph (b} is deleted.
LOSSES WE PAY

The following sentence is added to the first paragraph:

However, we will not pay damages for: (a) pain; (6) suffering; (c} mental anguish; or (d) inconvenience
‘| unless the bodily injury consists in whole or in part of:

(a) Significant and permanent joss of an important bodily function; or

(b) Permanent injury within a reasonable degree of medical probability; Or

(c} Significant and permanent scarring or disfigurement; or -

(d) Ogath.

The second paragraph is deleted.

EXCLUSIONS

Exclusion 5 Is deleted.

Uninsured Motorist Coverage (Non-Stacked}

(Florida)

(n consideration’ of the payment of premium for this coverage and subject to all the terms of the paticy. we
agree with you as follows:

Section IV. LIMIT OF LIABILITY. is amended by adding the following paragraphs:

§. When coverage is afforded to two or more autos, the limits of liability shall apply separately to each auto
as stated in the declarations.

6. If at the time of the accident the injured person is occupying an aute insured by us, the amount of
coverage available to the injured person Is the limit specified in the declarations for the occupied auto.
7, If at the time of the accident the injured person is not occupying a motor vehicle. the injured person is
entitled to select anyone limit of anyone auto Insured under this coverage.

B. if at the time of the accident the injured person is occupying a motor vehicle which is not owned by him
or by a family member residing with him. he is entitled to the highest [lmits of uninsured motorist coverage
afforded for anyone vehicle as to which he is the named insured or insured family member. Such coverage

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shail be excess over the coverage on the vehicle he is occupying.

if separate policies with us are in effect for you or any person in your household, they may not be combined
to increase the fimit of liability for a loss.

THE COMPANY affirms this endorsement

Fo enable the insurer to investigate and resolve your claim, describe the facts and circumstances giving rise to the
insurer's violation as you understand them at this time.

The Insurance carrier has not paid the policy timits of $400,000.00 in this case which presently clearly
warrants payment of the aforementioned policy limits. The facts and circumstances of this violation
include; that we hava provided documentation to the Insurance carrier for them to become informed that
this claim warrants the policy limits payment, and the Insurance carrier has falied to proactively manitor
this claim, and if they had they had properly investigated and reviewed this claim the Insurance carrier
would know that this claim warrants payment of the policy limits. The Insurance Carrier can cure or remedy
the alleged deficiency complained of by simply paying the policy limits of $100,000.00 to the claimant within
60 days from the date of receipt of the civil remedy notice by the insurance carrier, herein. If the insurance
company wants to fix thelr mistake of not paying the poticy limits, they can do sa by making the payment
payable Jointly to Angela Collins and Powell & Espat. Deliver the payment to Powell & Espat at 304 Plant
Avenue, Tampa, Florida 33606 within 60 days of receipt of the civil remedy notice by the insurance carrier.
In so doing, it would be a complete, full and fina! resolution of any and ail claims of Angefa Coltins known
and unknown and of the consortium claim of Nicholas Collins including any and alf attorneys fees and
costs as well as any and all alleged damages for any potential lack of good faith (Bad Faith) claim stemming
directly or indirectly from the subject motor vehicle accident. In short, it would be a complete cure or
remedy of the deficiency complained of and a complete resolution of the claims described above. This
notice is given in order to perfect the rights of Angeia Collins who was damaged, to pursue civil remedies
authorized by Section 624,155, Florida Statutes,

re

User Id Date Added Comment

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Exhibit C
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Filing Number: 302967

Filing Accepted: 4213412015

Warning! Information submitted as part of this civil remedy notice is a public record. Data entered into
this form will be dispfayed on the DFS website for public review. Please DO NOT enter Social Security
Numbers, personal medical information, personal financial information or any other information you do not
want available for public review.

The submitter hereby states that this notice is given in order to perfect the rights of the person(s)
damaged to pursue civil remedies authorized by Section 624.155, Florida Statutes.

Name: NICOLE COLLINS
Street Address: 6819 VINTAGE LANE
City, State Zip: PORT ORANGE, FL 32128

Ernaii Address:

Complainant Type: Insured

Name: NICOLE COLLINS

Policy #: 4111-11-82-06
Claim #: 0334251010104042

Name:

Street Address:

City, State Zip: ' a
Email Address:

insurer Type: Authorized Insurer

Name: GEICO GENERAL INSURANCE COMPANY
Street Address:
City, State Zip: :

Please identify the person or persons representing the insurer who are most responsible for/knowledgeable of the
facts giving rise to the allegations in this notice. .

WADE KNOECK

Type of Insurance: Auto

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Filing Number: 302967

Reasons for Notice:

Claim Denial
Claim Delay
Unsatisfactory Settlement Offer

Unfair Trade Practice

PURSUANT TO SECTION 624.155, F.S. please indicate ali statutory provisions alleged to have been violated.

624,155(1}(b)}{1) Not attempting in good faith to settle claims when, under all the circumstances,
it could and should have done so, had it acted fairly and honestly toward its
insured and with due regard for her or his interests.

624.155(1}(b)}{3) Except as to liability coverages, failing to promptly settle claims, when the
obligation to settle a claim has become reasonably clear, under one portion of
the insurance policy coverage in order to influence settlements under other
portions of the insurance policy coverage.

626.9541(1}(i}{3)(a) Failing to adopt and implement standards for the proper investigation of
claims.

626.9541(1}(I}(3}(b) Misrepresenting pertinent facts or insurance policy provisions relating to
coverages at issue.

626.9541(1}()(3)(c) Failing te acknowledge and act promptly upon communications with respect to
claims.

626.9541(1}(i)(3)(d) Denying claims without conducting reasonable investigations based upon
available information.

626,9541(1}(i(3h{e) Failing to affirm or deny fuil or partial coverage of claims, and, as to partial
coverage, the daliar amount or extent of coverage, or failing to provide a
written statement that the claim is being investigated, upon the written request
of the insured within 30 days after proof-of-loss statements have been
completed.

626:9547(1)()(3)(} Failing to promptiy provide a reasonable explanation in writing to the insured
of the basis in the insurance policy, in relation to the facts or applicable law,
for denial of a claim or for the offer of a compromise settlement.

§26.9541(1}(i}/3)(g) Failing to pramptly notify the insured of any additional information necessary
for the processing of a claim.

Reference to specific policy language that is relevant to the violation, if any. If the person bringing the civil action is a
third party claimant, she or he shail not be required to reference the specific policy language if the authorized insurer
has not provided a copy of the policy to the third party claimant pursuant to written request.

Geico General insurance Company UM langttage policy 4111-11-82-06

SECTION iV - UNINSURED MOTORISTS COVERAGE

Protection For You And Your Passengers For Injuries Caused By Uninsured And Hit-And-Run Motorists
DEFINITIONS

The definitions of terms for Section 1 apply to Section

IV..except for the following special definitions:

1, "Hit-and-run auto” is an auto causing bodily injury to an insured and whose operator or owner cannot be
identified, provided the insured or someone on his behalf:

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{a) reports the accident as soon as possible to'a police peace ar judicial officer or to the Commissioner
of Motor Vehicles;

(b) files with us as soon as possible a statement setting forth the facts of the accident and claiming

that he has a cause of action for damages against an unidentified person.

2. "Insured" means:

(a} the individuat named in the declarations and his or her spouse if a resident of the same household;
(b) relatives of (a} above if residents of his household;

{c).any other person while occupying an insured auto;

(a) any person who is entitled to recover. damages because of bodily injury sustained by an insured
under {a). (b}. and (e) above.

if there is more than one insured, our limits of liability will not be increased.

3. “Insured auto” is an auto:

(a) described in the declarations and covered by the Bodily Injury Liability coverage of this policy;

(b) temporarily substituted for an insured auto when withdrawn from normal use because of its
Breakdown, repair, servicing, loss or destruction; .

{c) operated by you or your spouse if a resident of the same household.

But the term "insured auto" dees not include:

(i) an auto used to carry passengers or goods for hire, except in a car-pool;

{ii) an auto being used without the owner's permission; or

{li} under subparagraphs (b}) and (c) above an aute owned by or furnished for the regular use of an
insured.

4. “Occupying” means in. upon, entering inte or alighting from.

5. “State” includes the District of Columbia the territories and possessions of the United States and the
Provinces of Canada.

6. "Uninsured auto” is an auto:

(a) which has no liability bond or insurance policy applicable with iiability limits complying with

the Financial Responsibility Law of the state in which the insured auto is principally garaged at

the time of the accident; or

(b) for which the total of all bodily injury liability insurance available in the event of an accident is less than
the damages sustained in an accident by an insured; or

{c) a hit-and-run auto. |

This term also includes an auto whose insurer is or becomes insolvent or denies coverage.

The term “uninsured auto” does not include:(a) an insured auto;

{b} an auto owned or operated by a self insurer within the meaning of any motor vehicle financial
responsibility law, motor carrier law or any similar law;

(c) an auto owned by the United States of America, any other national government, a state, or a political
subdivision of any such government or its agencies:

(d) a land motor vehicle or trailer operated on rails or crawler treads or located for use.as a residence

or premises and

(e} a farm-type tractor or equipment designed for use principally off public roads, except while used

upon public roads.

LOSSES WE PAY

Under the Uninsured Motorists coverage we will pay damages for bodily injury caused by accident which
the insured is Jegally entitled to recover from the owner or operator of an uninsured auto arising out of the
ownership, maintenance or use of that auto.

However, we will not pay until the total of all bodily injury fiability insurance availabie has been exhausted
by payment of judgments or settlements.

EXCLUSIONS

When Secticn IV Does Not Apply

1. This coverage does not apply te bodily injury to an insured if the insured or his tegal representative has
made a settlement or has been awarded a judgment of his claim without our prior written consent,

2. Bodily injury to an insured while occupying or when struck by any motor vehicle or motorcycle owned
by an insured or a relative, which is not insured under the Liability Coverages section of this policy, is not
covered.

3. The Uninsured Motorists coverage will not benefit any workmen's compensation insurer, self insurer, or
disability benefits insurer.

4, We do not cover the United States of America or any of its agencies as an insured, a third party
beneficiary or otherwise.

5. This coverage does not apply to any damages for pain and suffering that the insured may be legally
entitled to recover against an uninsured motorist unless the injury or disease caused by the uninsured
motorist accident resulted in:

(a) significant and permanent loss of an important bodily function; or

(b) permanent injury within a reasonable degree of medical probability, other than scarring or
disfigurement: or

{2} significant and permanent scarring or disfigurement or

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(d) death.

6. Regardless of any other provision of this policy, there is no coverage for punitive or exemplary damages.
LIMITS OF LIABLITY

1. The limit of liability for Uninsured Motorists coverage stated in the declarations as applicable to "each
person” is the limit of our fiability for all damages, including those for care or loss of services, due to bodily
injury sustained by one person as the result of one accident.
The most we will pay for all such damages, sustained by one person as the result of one accident, is the
sum of the “each person” limits for Uninsured Motorists coverage shown in the declarations.
.2. The limit of tiability stated in the declarations as applicable to “each accident” is, subject to the above
provision respecting each person, the total limit of our liability for ali such damages, including damages for
care and joss of services, because of bodily injury sustained by two or more persons as the result of one
accident. The most we will pay for all such damages. sustained by two or more persons as the result of one
accident, is the sum of the

“each accident" limits for Uninsured Motorists coverage shown in the declarations.
3. The limit of liability for Uninsured Motorist coverage shall be over and above, but shall not duplicate the
benefits available to an insured under any:
(a) workers’ compensation law;

(b) personal injury protection benefits;

(c) disability benefits law or similar law; or

{d) automobile medical expense coverage.
4. The limit of liability for Uninsured Motorist coverage shali be over and above, but shali not duplicate any
amount paid or payable:
(a) under any motor vehicle liability insurance coverages; or

(b} by or on behalf of the owner or operator of the uninsured motor vehicle or any other person or
organization jointly or severally liable together with such owner or operator for the accident.

OTHER INSURANCE
When an insured occupies an aute not described in this policy, and net ewned by that insured or a relative
this insurance is excess over any other similar insurance available to the insured and the insurance which
applies to the occupied auto is primary.

If the insured has other insurance against a loss covered by the Uninsured Motorist provisions of this
policy, we will not be liable for more than our pro-rata share of the total coverage available.

DISPUTES BETWEEN US AND AN INSURED
‘4. Disputes between an insured and us as to liability and damages may be submitted to arbitration.
Arbitration must be agreed to in writing between the Insured and us.

if arbitration is agreed upon, each party shal select an impartial arbitrator. These arbitrators shall select a
third one.

The cost of the arbitration and any expenses for experts shall be paid by the party who hired them. The cost
of the third arbitrator shall be paid equally by the parties.

2. If the insured and we cannot agree to arbitrate or agree to a third arbitrator, the insured shall:

(a) sue the owner or driver of the uninsured auto and us in 2 court of competent jurisdiction. IT the

owner or driver is unknown, name us as the defendant.

(b) when sult is filed, immediately give us copies of the suit papers.
‘3. If the insured agrees to settle with another insurer for their limits of liability coverage, the insured must
submit this agreement to us in such settlement if the insured intends to pursue an uninsured motorist claim
against us.

4. if within 30 days after receipt of the settlement agreement, we do not:

{a) approve the settlement and the signing of the full release:

{b) waive our subrogation rights; and
{c) agree to arbitrate the claim,

the insured may then file suit against us and the person(s)legally liable.
s. Any award against us shall be binding and conclusive against us and the insured up to our coverage
limit.
TRUST AGREEMENT
Whenever we make a payment under this coverage:
4. We will be entitled to repayment of that amount out of any settlement or judgment the insured recovers
from any person or organization legally responsible for the
bodily injury.
2. The insured will held in trust for our benefit all rights of recovery which he may have against any person
or organization responsible for these damages. He will do whatever is necessary to secure alt rights of
recovery and will do nothing after the loss to prejudice these rights.

3. At our written request, the insured, in his own name, will take through a designated representative
appropriate actions necessary to recover payment for damages from the legaily responsible person or
organization. The insured will pay us out of the recovery for our expenses, costs and attorney's fees.

4. The insured will execute and furnish us with any needed documents to secure his and our rights and
obligations.

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CONDITIONS

The following conditions apply only to the Uninsured

Motorist coverage:

1. NOTICE

As soon as possible after an accident, notice must be given us or our authorized agent stating:

{a) the identity of the insured;

{b} the time, piace and details of the accident; and

{e) the names and addresses of the injured. and of any witnesses.

If the insured or his legal representative files suit before we make a settlement under this coverage, he must
immediately provide us with a copy of the pleadings.

2. ASSISTANCE AND COOPERATION OF THE INSURED

After we receive notice of a claim, we may require the insured to take any action necessary to preserve his
recovery rights against any allegedly legaliy responsible person or organization. We may require the
insured to make that person or organization a defendant in any action against us.

3. ACTION AGAINST US

Suit will not lie against us unless the insured or his legal representative have fully complied with all the
policy terms.

4, PROOF OF CLAIM - MEDICAL REPORTS

As soon as possibile, the insured or other person making claim must give us written proof of claim, under
oath if required. This will include details of the nature and extent of injuries, treatment, and other facts
which may affect the amount payabie. The insured and other persons making claim must submit to
examination under oath by any person named by us when and as often as we may reasonably require.
Proof of claim must be made on forms furnished by us unless we have not furriished these forms within 15
days after receiving notice of claim.

The injured person will submit to examination by doctors chosen by us, at our expense, as we may
reasonably require. In the event of the insured’s incapacity or death, his legal representative must, at‘our
request, authorize us to obtain medical reports and copies of records.

5. PAYMENT OF LOSS

Any amount due is payable:

(a) to the insured or his authorized representative:

{b)} if the insured is a minor, to his parent or guardian; or

ic} if the insured is deceased, to his surviving spouse; otherwise

{d) to a person authorized by law to receive the payment; or to a person legally entitled to recover payment
for the damages.

We may, at our option, pay an amount due in accordance with (d)} above.

SECTION IV- UNINSURED MOTORISTS COVERAGE

DEFINITIONS

Under what the term “uninsured auto" does not include, subparagraph (b) is deleted.
LOSSES WE PAY

The following sentence is added to the first paragraph:

However, we will not pay damages for: (a) pain; (b) suffering; (c) mental anguish; or (a) i inconvenience
unless the bodily injury consists in whole or in part of:

(a) Significant and permanent loss of an important bodily function; or

(b} Permanent injury within a reasonable degree of medical probability; Or

(c) Significant and permanent scarring or disfigurement; or -

(d) Death.

The second paragraph is deleted.

EXCLUSIONS

Exclusion 5 is deleted.

Uninsured Motorist Coverage (Non-Stacked)

{Florida)

In consideration’ of the payment of premium for this coverage and subject to all the terms of the policy. we
agree with you as follows:

Section IV. LIMIT OF LIABILITY. is amended by adding the following paragraphs:

5. When coverage is afforded to twe or more autos, the limits of liability shall apply separately to each auto
as Stated] in the declarations.

6. If at the time of the accident the injured person is occupying an aute insured by us, the amount of
coverage available to the injured person is the limit specified in the deciarations for the occupied auto.

7. If at the time of the accident the injured person is not occupying a motor vehicle, the injured person is
entitled to select anyone fimit of anyone auto insured under this coverage.

B. !f af the time of the accident the injured person is occupying a motor vehicle which is not owned by him
or by a family member residing with him. he is entitled to the highest iimits of uninsured motorist coverage
afforded for anyone vehicle as to which he is the named insured or insured family member. Such coverage

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shall be excess over the coverage on the vehicle he is occupying.

If separate policies with us are in effect for you or any person in your household, they may not be combined
to increase the limit of Hability for a loss.

THE COMPANY affirms this endorsement

To enable the insurer to investigate and resolve your claim, describe the facts and circumstances giving rise to the
insurer's violation as you understand them at this time.

The Insurance carrier has not paid the policy limits of $100,000.00 in this case which presently clearly
warrants payment of the aforementioned policy limits. The facts and circumstances of this violation
include; that we have provided documentation to the Insurance carrier for them to become informed that
this claim warrants the policy limits payment, and the Insurance carrier has failed to proactively monitor
this ciaim, and if they had they had properly investigated and reviewed this claim the insurance carrier
would know that this claim warrants payment of the policy limits. The insurance Carrier can cure or remedy
the alieged deficiency comptained of by simply paying the policy limits of $100,000.00 to the claimant within
60 days from the date of receipt of the civil remedy notice by the insurance carrier, herein. If the insurance
company wants to fix their mistake of not paying the policy limits, they can do so by making the payment
payable jointly to Nicole J. Collins and Powell & Espat. Deliver the payment to Powell & Espat at 304 Plant
Avenue, Tampa, Florida 33606 within 60 days of receipt of the civil remedy notice by the insurance carrier.
in so doing, it would be a complete, full and final resolution of any and ali claims of Nicole J. Collins known
and unknown (and of the consortium claim of including any and ail attorney's fees and costs as well as any
and all alleged damages for any potential lack of good faith (Bad Faith) claim stemming directly or indirectly
from the subject motor vehicle accident. In short, it would be a complete cure or remedy of the deficiency -
complained of and 2 complete resolution of the claims described above. This notice is given in order to
perfect the rights of Nicole J. Collins who was damaged, to pursue civil remedies authorized by Section
624.155, Florida Statutes.

User Id Date Added Comment

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